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                                         ON REHEARING EN BANC

                                                 PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                  No. 21-2017


        MARYLAND SHALL ISSUE, INC., for itself and its members; ATLANTIC
        GUNS, INC.; DEBORAH KAY MILLER; SUSAN BRANCATO VIZAS,

                                Plaintiffs - Appellants,

                        and

        ANA SLIVEIRA; CHRISTINE BUNCH,

                                Plaintiffs,

                        v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W. JONES,
        III, Colonel,
                        Defendants - Appellees.

        ------------------------------

        FIREARMS POLICY COALITION, INC.; FPC ACTION FOUNDATION;
        INDEPENDENCE INSTITUTE; GUN OWNERS OF AMERICA, INC.; GUN
        OWNERS FOUNDATION; GUN OWNERS OF CALIFORNIA; HELLER
        FOUNDATION; VIRGINIA CITIZENS DEFENSE LEAGUE; GRASS ROOTS
        NORTH CAROLINA; RIGHTS WATCH INTERNATIONAL; TENNESSEE
        FIREARMS ASSOCIATION; TENNESSEE FIREARMS FOUNDATION;
        AMERICA’S FUTURE; U.S. CONSTITUTIONAL RIGHTS LEGAL DEFENSE
        FUND; CONSERVATIVE LEGAL DEFENSE AND EDUCATION FUND,

                                Amici Supporting Appellant.
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        BRADY CENTER TO PREVENT GUN VIOLENCE; GIFFORDS LAW CENTER
        TO PREVENT GUN VIOLENCE; MARCH FOR OUR LIVES; MARYLANDERS
        TO PREVENT GUN VIOLENCE, INC.; EVERYTOWN FOR GUN SAFETY,

                            Amici Supporting Appellee.



                                              No. 21-2053


        MARYLAND SHALL ISSUE, INC.; ATLANTIC GUNS, INC.; DEBORAH KAY
        MILLER; SUSAN BRANCATO VIZAS,

                            Plaintiffs - Appellees,

                     and

        ANA SLIVEIRA; CHRISTINE BUNCH,

                            Plaintiffs,

                     v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W. JONES,
        III, Colonel,

                            Defendants - Appellants.


        Appeals from the United States District Court for the District of Maryland, at Baltimore.
        Ellen Lipton Hollander, Senior District Judge. (1:16−cv−03311−ELH)


        Argued: March 21, 2024                                        Decided: August 23, 2024


        Before DIAZ, Chief Judge, and WILKINSON, NIEMEYER, KING, GREGORY, AGEE,
        WYNN, THACKER, HARRIS, RICHARDSON, QUATTLEBAUM, RUSHING,
        HEYTENS, BENJAMIN, and BERNER, Circuit Judges, and KEENAN, Senior Circuit
        Judge.



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        Affirmed by published opinion. Senior Judge Keenan wrote the opinion, in which Chief
        Judge Diaz and Judges Wilkinson, King, Wynn, Thacker, Harris, Heytens, Benjamin, and
        Berner joined. Judge Rushing wrote an opinion concurring in the judgment, in which Judge
        Gregory and Judge Quattlebaum joined. Judge Niemeyer wrote an opinion concurring in
        part, dissenting in part, and concurring in the judgment. Judge Richardson wrote a
        dissenting opinion, in which Judge Agee joined.


        ARGUED: John Parker Sweeney, BRADLEY ARANT BOULT CUMMINGS LLP,
        Washington, D.C., for Appellants. Ryan Robert Dietrich, OFFICE OF THE ATTORNEY
        GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees. ON BRIEF: Cary J.
        Hansel, III, Baltimore, Maryland; Mark W. Pennak, MARYLAND SHALL ISSUE, INC.,
        Baltimore, Maryland, for Appellants. James W. Porter, III, Marc A. Nardone, Connor M.
        Blair, BRADLEY ARANT BOULT CUMMINGS LLP, Washington, D.C., for Appellant
        Atlantic Guns, Inc. Brian E. Frosh, Attorney General, Robert A. Scott, Assistant Attorney
        General, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore,
        Maryland, for Appellees. David B. Kopel, INDEPENDENCE INSTITUTE, Denver,
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        Amici Firearms Policy Coalition, FPC Action Foundation, and Independence Institute.
        Douglas N. Letter, Shura Lauren Feldman, BRADY CENTER TO PREVENT GUN
        VIOLENCE, Washington, D.C., for Amicus Brady Center to Prevent Gun Violence.
        William T. Clark, New York, New York, Esther Sanchez-Gomez, GIFFORDS LAW
        CENTER TO PREVENT GUN VIOLENCE, San Francisco, California, for Amicus
        Giffords Law Center to Prevent Gun Violence. Ciara Wren Malone, MARCH FOR OUR
        LIVES, New York, New York, for Amicus March for Our Lives. George J. Hazel,
        Katherine Moran Meeks, Claire Madill, Hayley Lawrence, Kirsten Bleiweiss, GIBSON,
        DUNN & CRUTCHER LLP, Washington, D.C., for Amici Brady Center to Prevent Gun
        Violence, Giffords Law Center to Prevent Gun Violence, March for Our Lives, and
        Marylanders to Prevent Gun Violence.




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        BARBARA MILANO KEENAN, Senior Circuit Judge:

               In the aftermath of mass shootings across the country, the Maryland General

        Assembly passed the Firearm Safety Act of 2013 (FSA). Among other measures, 1 the FSA

        contains a statutory licensing regime for handgun purchasers to ensure comprehensive

        background checks, to prevent straw purchases, and to aid in the safe and legal use of

        firearms (the handgun qualification statute, or the HQL statute). Under this law, the state

        of Maryland does not retain any discretion to deny a “handgun qualification license” to

        applicants who meet the statutory requirements. This type of law is commonly referred to

        as a “shall-issue” licensing law, as opposed to a “may-issue” licensing law in which the

        state retains some discretion in deciding whether to issue a firearm license to an applicant.

        The plaintiffs in this appeal assert a facial challenge to the constitutionality of the “shall-

        issue” HQL statute, chiefly contending that any “temporary deprivation” of the ability to

        purchase a handgun violates the Second Amendment right to keep and bear arms. 2

               This case requires us to apply the Supreme Court’s decision in New York State Rifle

        & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022). We conclude that the Supreme Court in

        Bruen foreclosed the plaintiffs’ “temporary deprivation” argument by stating that, despite

        some delay occasioned by “shall-issue” permit processes, this type of licensing law is



               1
                We have rejected constitutional challenges to the FSA’s assault weapons ban in
        Kolbe v. Hogan, 849 F.3d 114 (4th Cir. 2017) (en banc), and, more recently, in Bianchi v.
        Brown, No. 21-1255, 2024 WL 3666180 (4th Cir. Aug. 6, 2024) (en banc).
               2
                The Second Amendment is made applicable to the states through the Fourteenth
        Amendment. See McDonald v. Chicago, 561 U.S. 742, 791 (2010). For simplicity, this
        opinion refers only to the Second Amendment.
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        presumptively constitutional because it operates merely to ensure that individuals seeking

        to exercise their Second Amendment rights are “law-abiding” persons. Bruen, 597 U.S. at

        38 n.9. We hold that the plaintiffs have failed to rebut this presumption of constitutionality

        afforded to “shall-issue” licensing laws like the handgun qualification statute. So the

        plaintiffs’ challenge to the HQL statute fails, and we affirm the district court’s award of

        summary judgment to the state of Maryland.



                                                      I.

                                                     A.

               Under the HQL statute, most Maryland residents must obtain a handgun

        qualification license before purchasing a handgun. 3 See Md. Code Pub. Safety § 5-117.1.

        To obtain this license, an individual must be at least 21 years old, be a Maryland resident,

        complete a firearms safety training course, and not be barred by federal or state law from

        purchasing or possessing a handgun. Id. § 5-117.1(d).

               The firearms safety training course must include at least four hours of instruction

        and be approved by the Secretary of the Maryland State Police (the Secretary). Id.

        § 5-117.1(d)(3). The training course has two parts: (1) classroom instruction on “[s]tate

        firearm law,” “home firearm safety,” and “handgun mechanisms and operation”; and (2) a



               3
                Certain categories of persons are exempt from the HQL statute. These categories
        include licensed firearms manufacturers, current or retired law enforcement officers in
        good standing, current or retired members of the United States armed forces or the National
        Guard, and people buying, renting, or receiving certain types of antique firearms. Md.
        Code Pub. Safety § 5-117.1(a).
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        “firearms orientation” that “demonstrates” the applicant’s “safe operation and handling of

        a firearm.” 4 Id.

               The statute requires that individuals applying for a handgun qualification license

        submit (1) a set of their fingerprints, (2) proof that they have satisfied the training

        requirement, (3) a statement that they are not prohibited by law from possessing a handgun,

        and (4) a $50 application fee to cover the costs of administering the program. Id.

        §§ 5-117.1(f), (g). The Secretary reviews each application and submits the applicant’s

        fingerprints for a state and national background check. Id. § 5-117.1(f). Within 30 days

        of receiving a properly completed application, the Secretary “shall issue” a handgun

        qualification license to any applicant who has satisfied the statutory requirements. Id.

        §§ 5-117.1(d), (h). After the Secretary issues the applicant a handgun qualification license,

        that individual may select and apply to purchase a handgun. See infra Part II.B.ii.3

        (discussing the “77R process” for handgun purchases).

               Handgun qualification licenses remain valid for 10 years, and individuals may

        renew their licenses for additional 10-year periods as long as they retain the qualifications

        for issuance of the license and pay a $20 fee to cover program administration costs. Md.

        Code Pub. Safety §§ 5-117.1(i), (j)(1). Applicants seeking renewal of their handgun




               4
                  The training requirement does not apply to qualified handgun instructors,
        honorably discharged members of the United States armed forces or National Guard,
        armored-car-company employees holding a different handgun permit, individuals who
        have completed certain other firearms training courses, and individuals who lawfully own
        a regulated firearm. Id. § 5-117.1(e).
                                                     6
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        qualification licenses are not required to satisfy more training requirements or to submit

        another set of their fingerprints. Id. § 5-117.1(j)(2).

                                                      B.

               In 2016, Maryland Shall Issue, Inc., Atlantic Guns, Inc., Deborah Kay Miller, and

        Susan Brancato Vizas (the plaintiffs) 5 sued the Governor of Maryland and the Secretary

        and Superintendent of the Maryland State Police (the state, or Maryland), alleging that the

        HQL statute violates their Second Amendment rights. 6 The parties filed cross-motions for

        summary judgment and, in August 2021, the district court issued a decision analyzing the

        constitutionality of the HQL statute. Maryland Shall Issue, Inc. v. Hogan, 566 F. Supp. 3d

        404 (D. Md. 2021).        At that time, our two-step, means-end framework for Second

        Amendment challenges required courts first to evaluate whether the challenged regulation

        imposed a burden “on conduct falling within the scope of the Second Amendment’s

        guarantee.” See Bianchi v. Brown, No. 21-1255, 2024 WL 3666180, at *4 (4th Cir. Aug.

        6, 2024) (en banc) (quoting Kolbe v. Hogan, 849 F.3d 114, 133 (4th Cir. 2017) (en banc)).

        If the challenged law imposed such a burden, the reviewing court then was required to

        apply either intermediate or strict scrutiny, “depend[ing] on the nature of the conduct being




               5
                   Two other individual plaintiffs brought claims that were dismissed with prejudice.
               6
                The district court initially dismissed the plaintiffs’ claims for lack of Article III
        standing. Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199, 209 (4th Cir. 2020), as
        amended (Aug. 31, 2020). On appeal, we affirmed the dismissal of the plaintiffs’ claims
        under Maryland law and the Fourteenth Amendment. Id. at 218–19. For the plaintiffs’
        Second Amendment claim, however, we held that Atlantic Guns had standing and
        remanded that claim for a decision on the merits. Id. at 216.
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        regulated and the degree to which the challenged law burden[ed] the right.” Id. (quoting

        Kolbe, 849 F.3d at 133).

               Applying this framework, the district court held that the HQL statute was subject to

        intermediate scrutiny, and that the government had shown that the HQL statute was

        “reasonably adapted to a substantial governmental interest.” Maryland Shall Issue, 566 F.

        Supp. 3d at 421, 422, 426, 440.        The district court awarded summary judgment to

        Maryland, id. at 440, and the plaintiffs later filed the present appeal, which we held in

        abeyance pending the Supreme Court’s June 2022 decision in New York State Rifle & Pistol

        Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022).

                                                     C.

               In Bruen, the Supreme Court addressed a Second Amendment challenge to a New

        York state statute known as the “Sullivan Law.” 597 U.S. at 11. Under that “public carry”

        law, any person who sought a license to carry a firearm for self-defense outside that

        person’s home or place of business had to prove first that “proper cause exist[ed]” to issue

        the license (the proper-cause requirement). Id. at 12. Although “proper cause” was not

        defined by the statute, New York courts had interpreted the phrase as requiring “a special

        need for self-protection distinguishable from that of the general community.” Id. (citation

        omitted). The Supreme Court explained that under this type of “may-issue” licensing

        regime, “authorities have discretion to deny concealed-carry licenses even when the

        applicant satisfies the statutory criteria, usually because the applicant has not demonstrated

        cause or suitability for the relevant license.” Id. at 14. Each of the petitioners in Bruen



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        had applied for and had been denied an unrestricted license to carry a handgun in public

        for general self-defense. Id. at 15–16.

               In assessing whether New York’s proper-cause requirement violated the Second

        Amendment, the Supreme Court rejected the means-based analysis previously applied by

        our court and around which many Courts of Appeals “ha[d] coalesced.” Id. at 17. Instead,

        the Court established a new, two-step framework for evaluating Second Amendment

        challenges. At the first step of this framework, courts look to “the text of the Second

        Amendment to see if it encompasses the desired conduct at issue” (step one). See Bianchi,

        2024 WL 3666180, at *5 (citing Bruen, 597 U.S. at 24); United States v. Price, No. 22-

        4609, 2024 WL 3665400, at *5 (4th Cir. Aug. 6, 2024) (en banc) (identifying several

        textual limitations on the scope of the Second Amendment right (citing Bruen, 597 U.S. at

        31–32)). “If the text does not extend to the desired conduct, that conduct falls outside the

        ambit of the Second Amendment, and the government may regulate it.” Bianchi, 2024 WL

        3666180, at *5.

               If the text does cover the conduct at issue, “the burden shifts to the government to

        ‘justify its regulation by demonstrating that it is consistent with the Nation’s historical

        tradition of firearm regulation’” (step two). Id. (quoting Bruen, 597 U.S. at 24). At this

        second step, “the appropriate analysis involves considering whether the challenged

        regulation is consistent with the principles that underpin our regulatory tradition.” United

        States v. Rahimi, 144 S. Ct. 1889, 1898 (2024); see Bianchi, 2024 WL 3666180, at *18

        (“The law must comport with the principles underlying the Second Amendment, but it need

        not be a ‘dead ringer’ or a ‘historical twin.’” (quoting Rahimi, 144 S. Ct. at 1898)). If the

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        government satisfies its burden at this step, then the regulation may be enforced consistent

        with the Second Amendment. See Rahimi, 144 S. Ct. at 1902–03. But if the government

        does not, then the regulation is not constitutionally permissible. See Bruen, 597 U.S. at 34.

               Applying this framework to New York’s proper-cause requirement, the Supreme

        Court held that the plain text of the Second Amendment covered the plaintiffs’ desired

        conduct, and that the government had not satisfied its burden under step two. Bruen, 597

        U.S. at 33, 38–39. The Court thus held that the “proper-cause” requirement of the New

        York law was unconstitutional. Id. at 71.

               But the Court did not limit its discussion in Bruen to the proper-cause requirement

        challenged by the petitioners or to other “may-issue” licensing regimes. Instead, the Court

        discussed in dicta the presumptive lawfulness of what the Court referred to as “shall-issue”

        licensing laws. Id. at 38 n.9. The Court explained:

               To be clear, nothing in our analysis should be interpreted to suggest the
               unconstitutionality of the 43 States’ “shall-issue” licensing regimes, under
               which “a general desire for self-defense is sufficient to obtain a
               [permit].” Because these licensing regimes do not require applicants to show
               an atypical need for armed self-defense, they do not necessarily prevent
               “law-abiding, responsible citizens” from exercising their Second
               Amendment right to public carry. Rather, it appears that these shall-issue
               regimes, which often require applicants to undergo a background check or
               pass a firearms safety course, are designed to ensure only that those bearing
               arms in the jurisdiction are, in fact, “law-abiding, responsible citizens.” And
               they likewise appear to contain only “narrow, objective, and definite
               standards” guiding licensing officials, rather than requiring the “appraisal of
               facts, the exercise of judgment, and the formation of an opinion”—features
               that typify proper-cause standards like New York’s. That said, because any
               permitting scheme can be put toward abusive ends, we do not rule out
               constitutional challenges to shall-issue regimes where, for example, lengthy
               wait times in processing license applications or exorbitant fees deny ordinary
               citizens their right to public carry.


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        Id. (citations omitted) (hereafter referred to as the Supreme Court’s “shall-issue”

        discussion).

                                              *      *       *

               Following the Supreme Court’s issuance of its decision in Bruen, a panel of this

        Court held that the HQL statute was unconstitutional under the Second Amendment.

        Maryland Shall Issue, Inc. v. Moore, 86 F.4th 1038 (4th Cir. 2023), reh’g en banc granted,

        No. 21-2017(L), 2024 WL 124290 (4th Cir. Jan. 11, 2024). That decision was vacated by

        a vote of the full court, and we now consider this appeal en banc.



                                                     II.

               We review de novo the district court’s decision on the parties’ cross-motions for

        summary judgment. 7 Libertarian Party of Va. v. Judd, 718 F.3d 308, 312–13 (4th Cir.

        2013). Summary judgment may be granted only if “the movant shows that there is no


               7
                 We observe that the district court did not have the benefit of the Supreme Court’s
        analysis in Bruen when the court issued its summary judgment decision. Often, in such a
        situation we will remand for the district court to consider the Supreme Court’s newly
        articulated framework in the first instance. See, e.g., Firewalker-Fields v. Lee, 58 F.4th
        104, 111, 121–23 (4th Cir. 2023). Indeed, the Bruen framework raises questions that in
        many cases will require additional factual development before the district court. See, e.g.,
        Atkinson v. Garland, 70 F.4th 1018, 1020 (7th Cir. 2023) (remanding for district court to
        apply Bruen in the first instance because “[t]he parties’ briefing on appeal only scratche[d]
        the surface of the historical analysis”). But as explained in the following sections, the
        Supreme Court’s clear guidance on “shall-issue” licensing laws and the nature of the
        plaintiffs’ constitutional challenge render additional factual development unnecessary in
        this case. See Bruen, 597 U.S. at 38 n.9; see also United States v. Moore, 666 F.3d 313,
        318–19 (4th Cir. 2012) (describing standard for facial constitutional challenges). So we
        decide the constitutionality of the HQL statute without remand to the district court. See
        United States v. Williams, 56 F.4th 366, 371 n.4 (4th Cir. 2023) (explaining that we may
        affirm the district court “on any ground supported by the record”).
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        genuine dispute as to any material fact and the movant is entitled to judgment as a matter

        of law.” Fed. R. Civ. P. 56(a).

                                                       A.

                                                       i.

                 Because this case presents our first opportunity after Bruen to evaluate the

        constitutionality of a “shall-issue” licensing law, we begin by examining how the Supreme

        Court’s “shall-issue” discussion bears on our analysis. Under the first step of the Bruen

        framework, a court must consider the text of the Second Amendment:

                 A well regulated Militia, being necessary to the security of a free State, the
                 right of the people to keep and bear Arms, shall not be infringed.

        U.S. Const. amend. II. Among other plain-text requirements, 8 a regulation falls within the

        ambit of the Second Amendment only if the regulation “infringes” the Second Amendment

        right to keep and bear arms. Cf. Price, 2024 WL 3665400, at *3 (explaining that the Second

        Amendment “does not apply” if the plain text does not cover the conduct at issue); United

        States v. Scheidt, 103 F.4th 1281, 1284 (7th Cir. 2024) (declining to undertake the Bruen

        historical analysis when the statute at issue did not “infringe” the right to keep and bear

        arms).

                 In its seminal Second Amendment decisions, the Supreme Court has not conducted

        an exhaustive evaluation of the term “infringe,” most likely because the Court has not been

        required to do so. In Bruen, for example, the state of New York had denied the petitioners’


                 We assume without deciding that the Second Amendment’s other textual
                 8

        requirements have been satisfied in this case. See Price, 2024 WL 3665400, at *5
        (describing other textual components of step one (citing Bruen, 597 U.S. at 31–32)).
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        applications for unrestricted public carry licenses, thereby prohibiting them from carrying

        handguns in public for self-defense. 597 U.S. at 70–71. The proper-cause requirement

        thus “operated to prevent law-abiding citizens with ordinary self-defense needs from

        carrying arms in public for that purpose” and plainly “infringed” the right to keep and bear

        arms. See id. at 60, 70. Because each textual requirement was satisfied under step one, the

        burden shifted to the government to justify the regulation under step two. Id. at 24.

               The laws challenged in the Supreme Court’s other Second Amendment decisions

        similarly banned or effectively banned the possession or carry of arms. In District of

        Columbia v. Heller, the Court addressed the constitutionality of a District of Columbia

        statutory scheme that banned handgun possession in the home. 554 U.S. 570, 628 (2008)

        (“The handgun ban amounts to a prohibition of an entire class of ‘arms’” and “extends . . .

        to the home.”). In McDonald v. Chicago, the Court addressed the constitutionality of

        Chicago laws that “effectively bann[ed] handgun possession by almost all private citizens

        who reside in the City.” 561 U.S. 742, 750 (2010). In Caetano v. Massachusetts, the Court

        assessed the constitutionality of a Massachusetts law prohibiting the possession of stun

        guns. 577 U.S. 411, 411 (2016). And in United States v. Rahimi, the Court considered the

        constitutionality of a federal statute prohibiting the possession of a firearm by an individual

        subject to a domestic violence restraining order. 144 S. Ct. at 1894. So in these cases,

        there was no question that the laws “infringed” the right to keep or bear arms because the

        government, either by law, regulation, or means of a discretionary governmental

        determination, prevented individuals from exercising these rights.



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               But Bruen, in explicitly distinguishing “shall-issue” licensing laws, also introduced

        a more nuanced consideration of the concept of “infringement.” The Court emphasized

        that “shall-issue” licensing laws “do not necessarily prevent law-abiding, responsible

        citizens from exercising their Second Amendment right[s]” and require a more refined

        analysis. 597 U.S. at 38 n.9 (emphasis added) (internal quotation marks and citation

        omitted). In the “shall-issue” discussion, the Court established guideposts that reviewing

        courts may use to determine whether a “shall-issue” licensing law “infringes” the right to

        keep and bear arms. The Court explained that “shall-issue” licensing laws, which employ

        “narrow, objective, and definite standards” and do not give authorities discretion with

        regard to issuing a license, ordinarily do not prevent law-abiding individuals from

        exercising their Second Amendment rights. See id. (citation omitted). Thus, such laws

        generally do not “infringe” the right to keep and bear arms. But the Court further stated

        that it did not “rule out constitutional challenges” to “shall-issue” licensing laws that “deny

        ordinary citizens their right to public carry.” Id. And the Court provided as examples

        challenges to “shall-issue” licensing laws “put toward abusive ends,” such as those

        imposing “lengthy” wait times or “exorbitant” fees. Id.

               We are not free to ignore the Supreme Court’s substantive dictum on “shall-issue”

        licensing laws. See McRorey v. Garland, 99 F.4th 831, 837 (5th Cir. 2024) (explaining

        that dicta “doesn’t get more recent or detailed than [the ‘shall-issue’ discussion in] Bruen”).

        And we observe that Bruen is not the first case in which the Supreme Court has discussed

        in dicta types of regulations not before the Court when announcing limits on the Second



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        Amendment right. In the course of striking down the District of Columbia’s ban on

        handgun possession in the home in Heller, the Court emphasized:

               Like most rights, the right secured by the Second Amendment is not
               unlimited. From Blackstone through the 19th-century cases, commentators
               and courts routinely explained that the right was not a right to keep and carry
               any weapon whatsoever in any manner whatsoever and for whatever purpose.

        554 U.S. at 626. Continuing, the Court in Heller described as “presumptively lawful”

        certain “longstanding prohibitions,” such as prohibitions on the possession of firearms by

        felons. Id. at 626–27 & n.26 (also describing as “presumptively lawful” “prohibitions on

        the possession of firearms by . . . the mentally ill, or laws forbidding the carrying of

        firearms in sensitive places such as schools and government buildings, or laws imposing

        conditions and qualifications on the commercial sale of arms”). The Court reiterated this

        “assurance[]” two years later in McDonald, and the Court again cited this language in its

        recent decision in Rahimi. McDonald, 561 U.S. at 786; Rahimi, 144 S. Ct. at 1902; see

        also Bruen, 597 U.S. at 72 (Alito, J., concurring) (“Nor have we disturbed anything that

        we said in Heller or [McDonald] about restrictions that may be imposed on the possession

        or carrying of guns.”); id. at 81 (Kavanaugh, J., concurring).

               In the years following Heller and McDonald, we and our sister circuits have relied

        on this dictum from Heller in rejecting myriad constitutional challenges to laws prohibiting

        the possession of firearms by felons. Indeed, when we considered a defendant’s challenge

        to the federal felon-in-possession statute in United States v. Moore, we began our analysis

        “by noting the unanimous result reached by every court of appeals that [18 U.S.C.]

        § 922(g)(1) is constitutional, . . . usually based at least in part on the ‘presumptively lawful’


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        language from Heller.” 666 F.3d 313, 316–17, 319–20 (4th Cir. 2012); id. at 318 (“[T]he

        clear declaration in Heller that such felon in possession laws are a presumptively lawful

        regulatory measure resolves [a facial constitutional] challenge fairly quickly.”). And

        following Bruen, in United States v. Canada we again rejected a facial constitutional

        challenge to § 922(g)(1). 103 F.4th 257, 258–59 (4th Cir. 2024). We explained that

        “[w]hether the proper analysis focuses on the definition of the ‘people,’ the history of

        disarming those who threaten the public safety, Heller’s and Bruen’s assurances about

        ‘longstanding prohibitions,’ or circuit precedent, the answer remains the same: the

        government may constitutionally forbid people who have been found guilty of such acts

        from continuing to possess firearms.” Id.

               Consistent with our treatment of this dictum from Heller and our practice to

        “routinely afford substantial, if not controlling deference to dicta from the Supreme Court,”

        we apply Bruen’s clear guidance on “shall-issue” licensing laws to our analysis of the

        constitutionality of the HQL statute. Manning v. Caldwell for City of Roanoke, 930 F.3d

        264, 281–82 (4th Cir. 2019) (en banc); see also Bianchi, 2024 WL 3666180, at *26

        (explaining that “we are bound to respect” both the “language of entitlement” and the

        “language of limitation” from Heller and Bruen). So, in accord with the Supreme Court’s

        “shall-issue” discussion, we hold that non-discretionary “shall-issue” licensing laws are

        presumptively constitutional and generally do not “infringe” the Second Amendment right

        to keep and bear arms under step one of the Bruen framework. See McRorey, 99 F.4th at

        837, 840 (holding that the challenged federal background check requirement was not

        “abusive” or “subject to Bruen’s historical framework as a de facto prohibition on

                                                     16
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        possession”). And if a plaintiff fails to rebut this presumption of constitutionality, the

        plaintiff’s challenge to the “shall-issue” licensing law fails at step one, with no requirement

        to conduct a historical analysis under step two. See Scheidt, 103 F.4th at 1284.

               If, however, a plaintiff rebuts this presumption of constitutionality by showing that

        a “shall-issue” licensing law effectively “den[ies]” the right to keep and bear arms, the

        burden shifts to the government to demonstrate that the regulation “is consistent with this

        Nation’s historical tradition of firearm regulation.” 9 Bruen, 597 U.S. at 17, 38 n.9. If the

        government satisfies its burden under step two, then even a “shall-issue” licensing law that

        effectively denies the Second Amendment right can be enforced consistent with the Second

        Amendment. Cf. Rahimi, 144 S. Ct. at 1902 (holding that the tradition of firearm regulation

        justified the challenged firearm prohibition). But if the government does not satisfy its

        burden in such cases, then the “shall-issue” licensing law violates the Second Amendment.

        Cf. Bruen, 597 U.S. at 38, 71 (holding that the government had not identified a tradition

        justifying the challenged “may-issue” licensing law).

                                                       ii.

               Before turning to apply these legal principles to the HQL statute, we address the

        plaintiffs’ and the dissent’s preliminary arguments that the “shall-issue” discussion is

        inapplicable to the present case or to the step one inquiry. The plaintiffs initially assert that

        because the “shall-issue” discussion addresses only public carry laws, that discussion is


               9
                 In view of the Supreme Court’s guidance on the presumptive constitutionality of
        “shall-issue” licensing regimes, we need not define the outer contours of the term
        “infringe” in determining the principles applicable to “shall-issue” licensing laws and the
        facial validity of the HQL statute. See Bruen, 597 U.S. at 38 n.9.
                                                       17
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        irrelevant to a “shall-issue” licensing law regulating the possession of firearms. We reject

        this contention because the distinction advanced by the plaintiffs rests on a false premise,

        namely, that the Supreme Court has recognized different levels of constitutional protection

        for the Second Amendment right to “keep” arms and the Second Amendment right to

        “bear” arms.

               As the Supreme Court explained in Bruen, “[n]othing in the Second Amendment’s

        text draws a home/public distinction with respect to the right to keep and bear arms.” 597

        U.S. at 32, 70. Moreover, the rationale supporting the Supreme Court’s “shall-issue”

        discussion applies with equal force to “shall-issue” licensing laws governing the possession

        of firearms, and nothing in that discussion signals a contrary intent. So we decline the

        plaintiffs’ request to bypass the Supreme Court’s “shall-issue” discussion on the basis that

        the Court cited only “shall-issue” public carry laws. 10

               The plaintiffs separately contend that under Bruen, the “shall-issue” discussion

        pertains to a step two historical analysis, rather than to a step one plain text inquiry, because

        the Supreme Court appended the footnote containing the “shall-issue” discussion to the

        Court’s analysis regarding historical regulations relating to public carry. We find no merit

        in this argument.

               We first observe that the “shall-issue” discussion appears in tandem with the Court’s

        ultimate holding invalidating the New York law based on the absence of a historical


               10
                  In analyzing a “shall-issue” licensing law, a court reaches the second step of the
        Bruen framework only when in step one the plaintiff rebuts the presumptive
        constitutionality of the regulatory regime. Accordingly, we need not address whether the
        step two analysis would differ for “may-issue” and “shall-issue” licensing laws.
                                                       18
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        tradition limiting public carry to law-abiding individuals who demonstrate a special need

        for self-defense. Id. at 38–39 & 38 n.9. So in the process of stating what the Court was

        holding, the “shall-issue” discussion served to alert the reader to the limits of that holding.

               Moreover, in the “shall-issue” discussion the Court did not refer to any of the

        hallmarks of a step two historical inquiry, such as the historical tradition of “shall-issue”

        licensing laws or, conversely, the lack of a historical tradition for “shall-issue” licensing

        laws that may be subject to constitutional challenge. Id. at 38 n.9. Instead, without

        explicitly referencing the plain text of the Second Amendment, the Court grounded the

        “shall-issue” discussion in step one by explaining that even a presumptively constitutional

        “shall-issue” licensing law may go too far if it imposes conditions that effectively deny an

        individual the right to keep and bear arms.

               The dissent attempts to circumvent the “shall-issue” discussion and move directly

        to step two by relying on Rahimi’s language that “when the Government regulates arms-

        bearing conduct, as when the Government regulates other constitutional rights, it bears the

        burden to ‘justify its regulation.’” 144 S. Ct. at 1897 (citation omitted); Dissenting Op., at

        61–62. But the parties in Rahimi did not place in issue whether the challenged ban on the

        possession of firearms was covered by the plain text of the Second Amendment. So the

        Supreme Court was not required in Rahimi to conduct a plain text inquiry and moved

        directly to its step two analysis of the challenged firearms prohibition. Rahimi, 144 S. Ct.

        at 1899. When viewed in this context, the dissent’s leap to step two is not supported by

        the holding in Rahimi and effectively would collapse Bruen’s two-part framework into

        merely one step, improperly treating the plain text inquiry as a meaningless check-the-box

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        exercise. 11 See Bruen, 597 U.S. at 31–32. We therefore remain guided by Bruen and its

        “shall-issue” discussion in our consideration of the HQL statute.

                                                     B.

               Turning to apply the “shall-issue” discussion to the present case, we examine in our

        step one analysis (1) whether the HQL statute qualifies as a presumptively constitutional

        “shall-issue” licensing law and, if so, (2) whether the plaintiffs have rebutted that

        presumption by demonstrating that the law “infringes,” or effectively denies, the right to

        keep and bear arms. See Bruen, 597 U.S. at 38 n.9.

                                                      i.

               We need address only briefly our conclusion that the HQL statute qualifies as a

        presumptively constitutional “shall-issue” licensing law. The HQL statute allows any law-

        abiding person who seeks to obtain a handgun qualification license to do so by completing

        the objective criteria outlined in the statute. The state may not deny an individual a license



               11
                  We also reject as frivolous the plaintiffs’ suggestion that we should dismiss the
        Supreme Court’s statements about “shall-issue” licensing laws as mere “stray comments.”
        The “shall-issue” discussion reflects a carefully crafted limitation on the Court’s holding
        regarding New York’s proper-cause requirement, and undoubtedly was considered by the
        Supreme Court justices who comprised the Bruen majority. Indeed, in a concurring
        opinion, Justice Kavanaugh, joined by Chief Justice Roberts, specifically referred to “shall-
        issue” licensing laws and underscored the limitations set forth in Heller and McDonald,
        explaining that the Second Amendment “allows a ‘variety’ of gun regulations.” 597 U.S.
        at 80–81 (Kavanaugh, J., concurring) (citing Heller, 554 U.S. at 636). Contrasting “shall-
        issue” licensing laws with the “unusual” discretionary licensing regime struck down by the
        Bruen majority, which “in effect den[ied]” individuals “the right to carry handguns for self-
        defense,” Justice Kavanaugh reiterated the core of the “shall-issue” discussion, namely,
        that “shall-issue” licensing laws “are constitutionally permissible, subject . . . to an
        as-applied challenge.” Id. at 79, 80 (citing as examples of constitutional components of a
        licensing law fingerprinting, background checks, and training requirements).
                                                     20
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        once the statutory requirements have been satisfied. Moreover, the very requirements on

        which the plaintiffs focus their constitutional attack are the same requirements the Supreme

        Court cited as presumptively constitutional components of a “shall-issue” licensing law,

        namely, background checks and firearms safety courses. Id.

               The HQL statute thus falls easily within the scope of “shall-issue” licensing laws

        that the Supreme Court has indicated are presumptively constitutional. 12              See id.

        Accordingly, the plaintiffs’ constitutional challenge to the HQL statute can survive step

        one of the Bruen analysis only if they can demonstrate that the law “infringes,” or

        effectively “den[ies],” the Second Amendment right. Id.

                                                      ii.

               The plaintiffs raise three arguments to rebut the presumptive constitutionality of the

        “shall-issue” HQL statute. They contend that the HQL statute “has been put toward

        abusive ends” because (1) any “temporary deprivation” of the Second Amendment right

        constitutes “infringement,” (2) the HQL statute imposes “lengthy” wait times, and (3)




               12
                  The plaintiffs attempt to draw a distinction between the HQL statute and certain
        other “shall-issue” licensing laws, arguing that the HQL statute does not qualify as a “shall-
        issue” law because before a law-abiding individual may acquire a handgun, that individual
        also must complete other objective, nondiscretionary criteria set out in a different Maryland
        firearm law. But the plaintiffs do not dispute the constitutionality of this other law, referred
        to as the 77R process and described in Part II.B.ii.3 below, and a “shall-issue” licensing
        law is characterized not by its relationship to other, non-challenged legal requirements that
        may affect the same individual or subject matter, but by the challenged law’s
        nondiscretionary nature. See Bruen, 597 U.S. at 38 n.9.
                                                      21
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        Maryland’s separate 77R firearm application (the 77R process) renders redundant the

        background check required under the HQL statute. 13

               Before addressing these arguments, we emphasize the difficulty of challenging the

        facial constitutionality of a statute. Plaintiffs contesting the validity of a firearms law under

        the Second Amendment may bring either an “as-applied” or a “facial” challenge to the law.

        Moore, 666 F.3d at 317–20.         In an as-applied challenge, the court focuses on the

        circumstances of the particular plaintiffs and whether, in light of those circumstances, the

        challenged law was unconstitutionally applied to those plaintiffs. Id. at 319.

               By contrast, in a facial constitutional challenge a plaintiff asks the court to declare

        that the statute is invalid. As the Supreme Court has explained, “facial challenges are

        ‘disfavored’ because they ‘often rest on speculation,’ ‘short circuit the democratic process,’

        and ‘run contrary to the fundamental principle of judicial restraint.’” Bianchi, 2024 WL

        3666180, at *10 (quoting Wash. State Grange v. Wash. State Republican Party, 552 U.S.

        442, 449 (2008)). So to succeed in a facial constitutional challenge, a plaintiff confronts a

        much more difficult task, namely, to establish that there is “no set of circumstances” under

        which the law would be valid. Rahimi, 144 S. Ct. at 1898 (quoting United States v. Salerno,


               13
                  In their opening brief, the plaintiffs explained that the “costs” of completing the
        HQL statute “dissuaded” plaintiff Susan Brancato Vizas from acquiring a handgun
        qualification license, and that plaintiff Deborah Kay Miller could not complete the required
        training because of a physical disability that “makes it very difficult for her to sit for
        extended periods of time.” But the plaintiffs have not advanced any argument that the cost
        of obtaining a handgun qualification license constitutes an “exorbitant” fee, or that the
        substantive components of the training requirement have been put toward abusive ends
        effectively “deny[ing]” applicants their Second Amendment rights. Bruen, 597 U.S. at 38
        n.9. The plaintiffs thus have forfeited any facial constitutional challenge on these grounds.
        We express no view on the merits of any as-applied challenge on these bases.
                                                       22
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        481 U.S. 739, 745 (1987)); see also Moore, 666 F.3d at 318–19 (“[T]he Supreme Court

        has long declared that a statute cannot be held unconstitutional if it has constitutional

        application.”). “The stakes are higher in a facial challenge, so the bar goes up as well.”

        United States v. Veasley, 98 F.4th 906, 909 (8th Cir. 2024).

                                                      1.

                With these principles in mind, we consider the merits of the plaintiffs’ arguments.

        First, we reject the plaintiffs’ argument that any delay resulting from compliance with the

        HQL statute qualifies as “infringement.” The plaintiffs center this argument on language

        in Heller and maintain that the Court “declared” that Second Amendment rights “shall not

        be infringed, curtailed, or broken in upon, in the smallest degree.” But the Court did not

        make such a declaration. Rather, the language cited by the plaintiffs appears in a longer

        passage the Court quoted from Nunn v. State, a decision by the Georgia Supreme Court in

        1846:

                The right of the whole people, old and young, men, women and boys, and
                not militia only, to keep and bear arms of every description, and not such
                merely as are used by the militia, shall not be infringed, curtailed, or broken
                in upon, in the smallest degree; and all this for the important end to be
                attained: the rearing up and qualifying a well-regulated militia, so vitally
                necessary to the security of a free State.

        Heller, 554 U.S. at 612–13 (quoting Nunn, 1 Ga. 243, 251 (1846)). When the Court

        introduced this passage, it explained that the state court in Nunn “perfectly captured the

        way in which the operative clause of the Second Amendment furthers the purpose

        announced in the prefatory clause.” Id. at 612. In other words, the Court relied on Nunn

        to explain its conclusion that the Second Amendment right “was an individual right


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        unconnected to militia service,” not to explain when a law “infringes” the Second

        Amendment right. 14 Heller, 554 U.S. at 612.

               The Supreme Court no doubt was aware of its prior statements in Heller and this

        passage from Nunn when it indicated in the “shall-issue” discussion that “shall-issue”

        licensing laws are presumptively constitutional even though such laws require compliance

        before individuals may exercise their Second Amendment rights.                By equating

        “infringement” with any temporary delay, the plaintiffs improperly discount the Supreme

        Court’s guidance that requirements such as background checks and training instruction,

        which necessarily occasion some delay, ordinarily will pass constitutional muster without

        requiring the government to justify the regulation at step two. Bruen, 597 U.S. at 38 n.9;

        McRorey, 99 F.4th at 839 (“Our law is plain as can be that some amount of time for

        background checks is permissible.”).

                                                     2.

               The plaintiffs alternatively contend that compliance with the HQL statute results in

        the type of “lengthy” wait time that would qualify under the “shall-issue” discussion as a

        “denial” of an applicant’s Second Amendment rights. Without identifying any support for


               14
                  Moreover, in the present challenge to the HQL statute we need not address the
        other historical sources related to the dissent’s interpretation of the term “infringe.”
        Dissenting Op., at 58-60. Although the historical scope of the Second Amendment right
        typically informs a step one analysis, Bianchi, 2024 WL 3666180, at *6, Price, 2024 WL
        3665400, at *5, in considering a “shall-issue” licensing law we apply the Supreme Court’s
        clear direction in the “shall-issue” discussion that such laws may be subject to
        constitutional challenge when “put toward abusive ends” by imposing, “for example,
        lengthy wait times in processing license applications or exorbitant fees deny[ing] ordinary
        citizens” their Second Amendment rights. Bruen, 597 U.S. at 38 n.9; see also supra note 9
        (explaining that we need not define the outer contours of the term “infringe” in this case).
                                                    24
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        their argument in the record, the plaintiffs maintain that the actual time involved to obtain

        a handgun qualification license “self-evidently takes longer than 30 days.”

                  At the outset, this argument is flawed because it would require us to assume that the

        state takes the entire permissible 30-day period to process each application. The record

        before us squarely refutes such an assumption: “Through the first quarter of calendar year

        2018, there were no completed HQL applications pending disposition for longer than 15

        days.” And of particular relevance to this facial challenge in which we consider whether

        the HQL statute “may constitutionally be applied in at least some ‘set of circumstances,’”

        Canada, 103 F.4th at 258 (citation omitted), the record reflects that completed applications

        “can be and have been” processed within 24 hours of submission to the Maryland State

        Police.

                  The record therefore reveals that, in some cases, the process for obtaining a handgun

        qualification license can take only a few days. This time period is far shorter than many

        of the permissible processing periods cited by the Supreme Court in Bruen. See, e.g., 597

        U.S. at 13 n.1. We decline to construe the Supreme Court’s reference to “lengthy”

        processing periods as including within its scope the relatively brief application, review,

        and approval process of the HQL statute. 15 See also McRorey, 99 F.4th at 836, 840


                 The plaintiffs also emphasize that after obtaining a handgun qualification license,
                  15

        an individual must complete a separate firearm application not challenged in the present
        case, namely, the 77R process, before buying a handgun. See infra Part II.B.ii.3 (describing
        the 77R process). Even if we were to consider the plaintiffs’ argument that this additional,
        unchallenged law renders the “entire” process so lengthy as to deny individuals their
        Second Amendment rights, we would reject the argument on the merits. Taken together,
        an individual can complete the HQL statute and the 77R process in well under two weeks.
        (Continued)
                                                       25
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        (rejecting constitutional challenge to federal background check requirement because “a

        period of 10 days does not qualify” as “lengthy” under Bruen).

                                                     3.

               In their final argument, the plaintiffs contend that the HQL statute is “abusive”

        because a separate Maryland law, the 77R process, requires another background check for

        purchases of regulated firearms. See Md. Code Pub. Safety § 5-117. The plaintiffs do not

        challenge the constitutionality of background investigations generally, but they contend

        that Maryland “does not need two background checks.” In making this argument, however,

        the plaintiffs ignore key differences between these two processes.

               Unlike the HQL statute, which directs that each individual obtain a license before

        purchasing, renting, or receiving a handgun, the 77R process applies to the purchase, rental,

        or transfer of every regulated firearm. 16 Md. Code Pub. Safety § 5-117. Under the 77R

        process, an individual seeking to purchase a handgun in Maryland must submit to a

        firearms dealer a $10 fee and an application that contains, among other things, information

        regarding the handgun the individual seeks to purchase and the individual’s personal

        identification information. Id. §§ 5-118(a), (b). The 77R application also must contain the

        individual’s handgun qualification license number. Id. § 5-118(b)(4).




        We find no merit in any contention that the time required to comply with this separate law
        renders the HQL statute presumptively unconstitutional.
               16
                  The phrase “regulated firearm” includes both handguns and certain assault
        weapons. Md. Code Pub. Safety §§ 5-101(n)(1)–(2), (r). But see Md. Code Crim. Law §§
        4-301(b), (d), -303(a)(2) (prohibiting the purchase of assault weapons); Bianchi, 2024 WL
        3666180, at *1 (rejecting facial constitutional challenge to § 4-303).
                                                     26
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               Once the 77R application is completed, the Secretary conducts a background

        investigation. Id. § 5-121. 17 Significantly, the background check under the 77R process

        does not involve the submission of fingerprints. So when the Maryland General Assembly

        passed the HQL statute, the legislature included a fingerprinting requirement after

        considering expert testimony explaining that Maryland’s then-existing laws were

        vulnerable to illegal “straw” purchases. 18 One expert illustrated the gravity of this issue by

        citing a U.S. Government Accountability Office study in which undercover agents

        successfully used counterfeit driver’s licenses to purchase firearms from licensed dealers

        in five states that did not require fingerprinting. Thus, while both the 77R process and the

        HQL statute help ensure that an applicant is not prohibited from possessing a handgun, the

        HQL statute specifically aims to prevent individuals from using false identification to

        verify their eligibility to purchase a handgun.

               In addition to this substantive difference between the background checks required

        by each law, these investigations also may take place at different points in time. As noted

        above, the initial background check under the HQL statute occurs when applicants submit

        their fingerprints with their application for a handgun qualification license. After this

        initial investigation, the law requires that the Maryland Department of Public Safety and

        Correctional Services provide the State Police with updated criminal history information


               17
                 The dealer may not sell, rent, or transfer the handgun to the applicant until seven
        days after the dealer forwards the application to the Secretary. Id. § 5-123(a).
               18
                  A “straw” purchaser is legally eligible to buy a firearm and represents themselves
        to the seller as the purchaser of the firearm, but in fact is purchasing the firearm on behalf
        of a third party.
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        for handgun qualification license holders. Id. § 5-117.1(f)(7). The State Police “regularly

        receives” such reports. In contrast, individuals complete the 77R process each time they

        purchase any regulated firearm. See id. § 5-117. So the background check required by the

        77R process fills any gap that might result between the HQL criminal history reports and

        ensures that at the time an individual applies to purchase a handgun, the background check

        information reflects the individual’s current criminal history record.

               In sum, background checks under the 77R process and the HQL statute differ

        because only the HQL statute involves the submission of fingerprints, and the background

        checks for each process may occur at different points in time. In light of these distinctions,

        and because the HQL statute effectively strengthens the 77R process, we reject the

        plaintiffs’ argument that the HQL statute’s background check is wholly redundant and so

        abusive as to “infringe” the Second Amendment right under step one of the Bruen

        framework. 19

                                               *      *       *

               The plaintiffs have not met their burden to show that the HQL statute “infringes”

        the Second Amendment right to keep and bear arms and, thus, they have failed to rebut the


               19
                  The plaintiffs also argue that the HQL statute has been put toward abusive ends
        “by deterring tens of thousands of law-abiding, responsible citizens from acquiring
        handguns.” In support of this argument, the plaintiffs state that every year thousands of
        HQL applications are initiated but not submitted. This information is insufficient to show
        that the HQL statute is facially invalid. The data cited by the plaintiffs does not indicate
        why any application was initiated but not submitted and, thus, such data is of limited utility.
        For example, individuals may begin an application but not complete it because of
        ineligibility, because of a change in their decision to pursue a handgun qualification license,
        or because they ultimately complete a different type of application, such as a “permit-
        exempt” application.
                                                      28
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        presumption of constitutionality afforded to the HQL statute. We therefore reject their

        facial constitutional challenge at step one of the Bruen framework, and do not reach their

        argument under step two that the HQL statute lacks a historical analogue.



                                                    III.

               Since the Supreme Court issued Bruen, courts across the country have struggled to

        answer the many questions resulting from the Court’s new analytical framework. But this

        uncertainty does not extend to “shall-issue” licensing laws, which the Supreme Court has

        indicated should not be cast aside in rote fashion by relying on Bruen’s invalidation of

        “may-issue” licensing laws. We are not free to ignore the Supreme Court’s clear guidance

        on the presumptive constitutionality of “shall-issue” licensing regimes, nor to unduly

        constrain legislatures seeking to employ such measures to prevent handgun misuse and

        violent criminal activity. So, in line with the Court’s “shall-issue” discussion, governments

        may continue to enforce “shall-issue” firearms licensing regulations that impose non-

        abusive, objective requirements like background checks and firearm safety training. And

        because the plaintiffs in this case have failed to rebut the presumptive constitutionality of

        the “shall-issue” HQL statute, we reject their facial constitutional challenge. We affirm

        the district court’s judgment.

                                                                                        AFFIRMED




                                                     29
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        RUSHING, Circuit Judge, with whom Judges GREGORY and QUATTLEBAUM join,
        concurring in the judgment:

               In Maryland, most people who wish to acquire a handgun must first obtain a

        “handgun qualification license.” Md. Code Ann., Pub. Safety § 5-117.1(c). To obtain a

        license, a person must be at least 21 years old and a resident of Maryland, complete a

        firearms safety training course, submit a set of fingerprints to facilitate a background check,

        pay a $50 application fee, and aver that he is not prohibited under federal or state law from

        possessing a handgun. Id. § 5-117.1(d), (f), (g). Within 30 days of receiving a complete

        and accurate application, the Secretary of State Police issues the applicant a license. Id.

        § 5-117.1(h)(1).

               A majority of this Court concludes that Maryland’s handgun license requirement

        doesn’t implicate the plain text of the Second Amendment, which preserves “the right of

        the people to keep and bear Arms.” U.S. Const. amend. II. That is wrong. Maryland’s

        law regulates acquiring a handgun, and the Second Amendment’s text encompasses that

        conduct.

               The handgun license requirement is nevertheless constitutional because it is

        consistent with the principles underlying our Nation’s historical tradition of firearm

        regulation. In New York State Rifle and Pistol Association v. Bruen, the Supreme Court

        signaled that shall-issue licensing regimes designed to ensure that individuals bearing arms

        are “law-abiding, responsible citizens,” and which do so through “narrow, objective, and

        definite standards,” are relevantly similar to laws our regulatory tradition permits. 142 S.

        Ct. 2111, 2138 n.9 (2022) (internal quotation marks omitted). Maryland’s handgun license


                                                      30
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        requirement fits that paradigm.       Following the Supreme Court’s guidance, I would

        conclude that Maryland’s handgun license requirement is consistent with the Second

        Amendment. I therefore concur only in the judgment.

                                                       I.

               All Second Amendment claims must be assessed within the text-and-history

        framework the Supreme Court established in Bruen. Under that rubric, we first ask if the

        challenged law addresses conduct covered by the “plain text” of the Second Amendment.

        Id. at 2129–2130. If so, then the government must “justify its regulation by demonstrating

        that it is consistent with the Nation’s historical tradition of firearm regulation.” Id. at 2130.

               Maryland’s handgun license requirement obviously regulates conduct covered by

        the text of the Second Amendment. As Judge Richardson explains in his dissenting

        opinion, Maryland’s law applies to “the people,” handguns are “Arms,” and the law

        regulates acquisition, which is a prerequisite to “keep[ing] and bear[ing]” those arms. U.S.

        Const. amend. II; see also District of Columbia v. Heller, 554 U.S. 570, 579–592 (2008)

        (explicating these terms). I agree with his textual analysis. See Diss. Op. 51–52.

               The majority concludes that the conduct addressed by Maryland’s law—acquiring

        a handgun—is not covered by the text of the Second Amendment. That is “an implausible

        reading” of the constitutional text, not to mention the Court’s opinion in Bruen. Diss. Op.

        58. Here again, I agree with the dissent. See Diss. Op. 58–61. Because Maryland’s

        handgun license requirement “regulates [protected] conduct, . . . [Maryland] bears the

        burden to justify its regulation.” United States v. Rahimi, 144 S. Ct. 1889, 1897 (2024)

        (internal quotation marks omitted).

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                                                     II.

               When, as here, the government places conditions on conduct covered by the plain

        text of the Second Amendment, it must show that those conditions are “consistent with this

        Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2135. This inquiry

        is necessarily an exercise in analogical reasoning, because “the Second Amendment

        permits more than just those regulations identical to ones that could be found in 1791.”

        Rahimi, 144 S. Ct. at 1897–1898; see also Bruen, 142 S. Ct. at 2132. “[T]he appropriate

        analysis involves considering whether the challenged regulation is consistent with the

        principles that underpin our regulatory tradition.” Rahimi, 144 S. Ct. at 1898. A court

        “must ascertain whether the new law is ‘relevantly similar’ to laws that our tradition is

        understood to permit.” Id. (quoting Bruen, 142 S. Ct. at 2132). Central to this inquiry is

        “[w]hy and how the regulation burdens the right.” Id.; see also Bruen, 142 S. Ct. at 2133.

        In this respect, the law “must comport with the principles underlying the Second

        Amendment, but it need not be a ‘dead ringer’ or a ‘historical twin.’” Rahimi, 144 S. Ct.

        at 1898 (quoting Bruen, 142 S. Ct. at 2133).

               Bruen’s Footnote Nine gives us significant direction in evaluating a shall-issue

        licensing requirement under this standard. Recall that in Bruen the Supreme Court

        considered the constitutionality of New York’s public-carry licensing regime, which

        required an individual to demonstrate “a special need for self-protection distinguishable

        from that of the general community” in order to receive a license to carry a firearm outside

        his home or place of business for self-defense. Bruen, 142 S. Ct. at 2123 (internal quotation

        marks omitted). Because licensing officials retained discretion “to deny licenses based on

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        a perceived lack of need or suitability,” the Court dubbed New York’s law a “may issue”

        licensing regime, as distinguished from the “shall issue” licensing laws in “the vast

        majority of States,” pursuant to which “authorities must issue concealed-carry licenses”

        whenever applicants satisfy non-discretionary threshold criteria. Id. at 2123–2124; see

        also id. at 2123 n.1. After a comprehensive historical review, the Court held New York’s

        licensing law unconstitutional because it prevented “law-abiding citizens with ordinary

        self-defense needs from carrying arms in public for that purpose.” Id. at 2150; see also id.

        at 2156.

               The Court was quick to distinguish “shall-issue licensing regimes, under which a

        general desire for self-defense is sufficient to obtain a permit.” Id. at 2138 n.9 (internal

        quotation marks and brackets omitted). “[N]othing” in the Court’s historical analysis, it

        warned, “should be interpreted to suggest the unconstitutionality of the 43 States’ shall-

        issue licensing regimes.” Id. “Because these [shall-issue] licensing regimes do not require

        applicants to show an atypical need for armed self-defense, they do not necessarily prevent

        ‘law-abiding, responsible citizens’ from exercising their Second Amendment right to

        public carry.” Id. (quoting Heller, 554 U.S. at 635). “Rather,” the Court reasoned, “it

        appears that these shall-issue regimes, which often require applicants to undergo a

        background check or pass a firearms safety course, are designed to ensure only that those

        bearing arms in the jurisdiction are, in fact, ‘law-abiding, responsible citizens.’ And they

        likewise appear to contain only ‘narrow, objective, and definite standards’ guiding

        licensing officials,” unlike New York’s proper-cause standard. Id. (first quoting Heller,

        554 U.S. at 635, and then quoting Shuttlesworth v. Birmingham, 394 U.S. 147, 151 (1969)).

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        That said, the Court “d[id] not rule out constitutional challenges to shall-issue regimes”

        that are “put toward abusive ends”—for example, where “lengthy wait times in processing

        license applications or exorbitant fees deny ordinary citizens their right to public carry.”

        Id. In other words, “shall-issue licensing regimes are constitutionally permissible, subject

        of course to an as-applied challenge if a shall-issue licensing regime does not operate in

        that manner in practice.” Id. at 2162 (Kavanaugh, J., joined by Roberts, C.J., concurring).

               The Supreme Court’s discussion of shall-issue licensing regimes in Bruen, while

        not strictly necessary to the Court’s holding about New York’s law, is welcome guidance

        to “lower courts grappling with complex legal questions of first impression” in an area of

        the law that remains relatively undeveloped. Manning v. Caldwell for City of Roanoke,

        930 F.3d 264, 282 (4th Cir. 2019) (en banc). That discussion cannot be dismissed as a

        “passing” aside on a “tangential issue” that we are free to ignore. Id. Rather, from the very

        beginning of its opinion in Bruen, the Court contrasted New York’s may-issue law with

        the shall-issue laws in other States as a way to explain the rationale and limits of its holding.

        See 142 S. Ct. at 2122–2124, 2123 n.1, 2138 n.9. Accordingly, I would “give due weight”

        to this considered and reasoned guidance from the Supreme Court. Manning, 930 F.3d at

        282.

               Of course, the Court’s analysis of shall-issue licensing regimes must be read in

        harmony with the rest of the Bruen opinion. Footnote Nine is not, as the State urges here,

        “a different analysis” separate from or in addition to the history-and-tradition framework

        the Court instructed us to employ in Bruen. Appellees’ Supp. Br. 11. There is no indication

        that Footnote Nine is an exception from or contrary to the Second Amendment doctrine the

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        Court articulated just a few pages earlier in its opinion. Indeed, it would be bizarre for the

        Court to double down on the interpretive standard from Heller, which “centered on

        constitutional text and history,” Bruen, 142 S. Ct. at 2128–2129, and then, in a footnote,

        introduce an entirely distinct standard for only a small subset of regulations.

        Commonsensically, Footnote Nine’s assessment of shall-issue licensing regimes must be

        understood within the analytical framework the Court described and followed elsewhere in

        Bruen.

                 Viewed through that lens, Footnote Nine gives lower courts insight into the degree

        of fit necessary for a shall-issue licensing regime to be relevantly similar to historical

        analogues and thus consistent with the Nation’s historical tradition of firearm regulation.

        The Supreme Court has instructed that “how and why” modern and historical regulations

        burden Second Amendment rights are “‘central’ considerations when engaging in [this]

        analogical inquiry,” so we should begin there. Id. at 2133 (quoting McDonald v. City of

        Chicago, 561 U.S. 742, 767 (2010)).

                 First is the justification for shall-issue licensing laws, or the “why.” Id. By requiring

        applicants “to undergo a background check or pass a firearms safety course,” shall-issue

        licensing laws “are designed to ensure only that those bearing arms in the jurisdiction are,

        in fact, ‘law-abiding, responsible citizens.’” Id. at 2138 n.9 (quoting Heller, 554 U.S. at

        635). In other words, the shall-issue licensing laws considered in Bruen burdened Second

        Amendment rights in order to keep firearms out of the hands of individuals who were not

        “law-abiding, responsible citizens” but whose public carry of firearms instead threatened

        public safety. That justification is comparable to historical regulations restricting certain

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        persons’ ability to possess and publicly carry weapons because of the danger they posed.

        See, e.g., id. at 2148–2150 (discussing historical surety statutes); Heller, 554 U.S. at 626

        (noting “longstanding prohibitions on the possession of firearms by felons and the mentally

        ill”).

                 Similarly here, the State relies on the tradition of regulating firearm possession by

        dangerous individuals, a historical justification that precedent well supports. What Heller

        and Bruen presumed, courts have confirmed through more exhaustive analysis of the

        historical record: “the legislature may disarm those who have demonstrated a proclivity for

        violence or whose possession of guns would otherwise threaten the public safety.” Kanter

        v. Barr, 919 F.3d 437, 454 (7th Cir. 2019) (Barrett, J., dissenting); see Rahimi, 144 S. Ct.

        at 1901 (“When an individual poses a clear threat of physical violence to another, the

        threatening individual may be disarmed.”); see also United States v. Carpio-Leon, 701 F.3d

        974, 980 (4th Cir. 2012) (upholding 18 U.S.C. § 922(g)(5), which prohibits possession of

        a firearm by an illegal alien, based on “historical evidence” that “the government could

        disarm individuals who are not law-abiding members of the political community”);

        Folajtar v. Att’y Gen., 980 F.3d 897, 913 (3d Cir. 2020) (Bibas, J., dissenting)

        (“Historically, limitations on the right were tied to dangerousness. . . . Violence was one

        ground for fearing danger, as were disloyalty and rebellion.”); Binderup v. Att’y Gen., 836

        F.3d 336, 369 (3d Cir. 2016) (en banc) (Hardiman, J., concurring in part and concurring in

        the judgments) (“[T]he historical record leads us to conclude that the public understanding

        of the scope of the Second Amendment was tethered to the principle that the Constitution

        permitted the dispossession of persons who demonstrated that they would present a danger

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        to the public if armed.”). As these decisions explain, history demonstrates the principle

        that certain dangerous individuals may be prohibited from possessing firearms at all, not

        just from carrying them publicly. Cf. Rahimi, 144 S. Ct. at 1899–1902 (analogizing

        dangerousness justification underlying “surety and going armed laws” to dangerousness

        justification underlying possession prohibition).

               The justification for Maryland’s handgun license requirement is relevantly similar

        to this historical tradition. Like the shall-issue licensing laws considered in Bruen,

        Maryland’s law “require[s] a license applicant to undergo fingerprinting” for “a

        background check” and “a mental health records check,” Bruen, 142 S. Ct. at 2162

        (Kavanaugh, J., joined by Roberts, C.J., concurring), and to “pass a firearms safety course,”

        id. at 2138 n.9 (majority opinion). See Md. Code Ann., Pub. Safety § 5-117.1(d)(4)

        (investigation to determine whether person is “prohibited by federal or State law from

        purchasing or possessing a handgun”); id. § 5-133 (listing prohibited persons, including

        felons, fugitives, drug addicts, and the mentally ill). 1 Because those requirements are

        “designed to ensure only that those [keeping] arms in the jurisdiction are, in fact, law-

        abiding, responsible citizens” whose possession of handguns does not pose a danger to

        others, they are supported by a historically defensible justification according to Bruen. 2

        142 S. Ct. at 2138 n.9 (internal quotation marks omitted).


               1
                   Plaintiffs do not challenge the constitutionality of any part of Section 5-133.
               2
                 Historical laws did not restrict firearm ownership or public carry based on a
        person’s ability to use the weapon safely, although some laws apparently did require
        forfeiture of a firearm or ammunition that was not safely stored. See, e.g., Act of Mar. 1,
        (Continued)
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               Second, in addition to comparing “why” historical regulations and their modern

        counterparts burden Second Amendment rights, courts should compare “how” they do so,

        that is, “whether modern and historical regulations impose a comparable burden on the

        right.” Id. at 2133. In Footnote Nine, the Bruen Court identified how shall-issue licensing

        regimes burden the right to keep and bear arms: using “narrow, objective, and definite

        standards” to identify persons rightfully prohibited from possessing or carrying a firearm,

        licensing officials deny those individuals a license, while issuing licenses to all other




        1783, ch. 13, 1783 Mass. Acts 218, 218–219 (prohibiting loaded firearms in “any
        Dwelling-House, Stable, Barn, Out-house, Ware-house, Store, Shop, or other Building,
        within the Town of Boston” and authorizing seizure of such arms and a fine); Act of Apr.
        13, 1784, ch. 28, 1784 N.Y. Laws 627, 627–629 (prohibiting “any quantity of gun powder
        exceeding twenty-eight pounds weight, in any one place” in New York City “except in the
        public magazine” and requiring gunpowder to be “seperated into four stone jugs or tin
        cannisters, which shall not contain more than seven pounds each, on pain of forfeiting all
        such gun powder” and paying a fine); Act of Feb. 28, 1786, § I, 1786 N.H. Laws 383, 383–
        384 (prohibiting “more than ten pounds of gun-powder” in “any dwelling-house, store or
        other building, on land, within the limits of said Portsmouth” and requiring gunpowder to
        “be kept in a tin cannister properly secured for that purpose” or else “forfeit the powder”
        illegally kept and pay a fine); Act of Mar. 28, 1787, ch. 328, § II, 1786 Pa. Laws 502, 502–
        503 (prohibiting “any house, store, shop, cellar or other place, within the city of
        Philadelphia” from storing “any greater quantity of gunpowder, at one time, than thirty
        pounds . . . under the penalty of forfeiture of the whole quantity so over and above stored
        or kept, together with the sum of twenty pounds for every such offence”); Act of June 19,
        1801, ch. 20, § 1, 1801 Mass. Acts 507, 507–508 (prohibiting storage of gunpowder in any
        “house or shop for sale, by retail” exceeding “twenty-five pounds” and requiring
        gunpowder to be “kept in brass, copper or tin Tunnels” subject to “forfeiting all such Gun
        Powder”). The Supreme Court in Bruen nevertheless treated modern training requirements
        as covered by the historically justifiable purpose of ensuring that “those bearing arms in
        the jurisdiction are, in fact, law-abiding, responsible citizens.” 142 S. Ct. at 2138 n.9
        (internal quotation marks omitted). Plaintiffs have not identified any basis to depart from
        that reasoning in the context of restrictions on possession, so I follow Bruen’s lead and
        conclude that the justification underlying the training component of Maryland’s handgun
        license requirement is sufficiently comparable to historical precursors prohibiting firearm
        possession on dangerousness grounds.
                                                    38
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        applicants. Id. at 2138 n.9 (internal quotation marks omitted). The Court acknowledged

        that even those individuals who ultimately receive a license must pay a fee and wait some

        amount of time while their application is processed, but it indicated that successful

        constitutional challenges to the burden on that group would likely be limited to cases of

        abuse, like when “lengthy wait times” or “exorbitant fees” de facto deny those individuals

        their right to keep or carry firearms. Id.; see also id. at 2162 (Kavanaugh, J., joined by

        Roberts, C.J., concurring).

               As Plaintiffs point out, a permitting scheme is undeniably different from historical

        laws that prohibited dangerous persons from keeping or carrying weapons and penalized

        them when they did so. By subjecting everyone to a licensing requirement, the government

        temporarily prevents a much wider swath of people from possessing or carrying firearms

        than the narrower category of dangerous persons who can be disarmed long term. Plaintiffs

        argue that, for this reason, a permitting scheme that licenses lawful gun owners in advance

        cannot be considered relevantly similar to historical laws that retrospectively punished

        unlawful gun owners.

               That argument cannot be squared with Bruen’s Footnote Nine. There, the Supreme

        Court acknowledged that some shall-issue licensing regimes are constitutional. Yet all

        licensing schemes share the feature that Plaintiffs claim is unconstitutional—whether the

        delay is one day or thirty, a person entitled to a license will temporarily be prevented from

        exercising his rights while he awaits government approval. Despite this fact, the Supreme

        Court was untroubled by a licensing regime requiring advance permission to carry a gun,

        at least when the criteria for receiving permission from the government are objective and

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        tied to historically defensible justifications. 3 See id. at 2123 & n.1, 2138 n.9 (majority

        opinion).   We know from Bruen, then, that some firearm licensing regimes are

        constitutional, even though, unlike their historical analogues, they briefly burden the rights

        of “law-abiding, responsible citizens.” Id. at 2138 n.9 (internal quotation marks omitted).

        An analogical assessment that finds this difference disqualifying, therefore, is requiring an

        erroneously stringent fit between the modern and historical regulations. See Rahimi, 144

        S. Ct. at 1925 (Barrett, J., concurring) (“Historical regulations reveal a principle, not a

        mold.”).

               The Court’s recent Rahimi decision is illustrative. There, the Court considered the

        constitutionality of 18 U.S.C. § 922(g)(8), which prohibits a person from possessing a

        firearm while subject to a domestic violence restraining order. The Court found two types

        of historical laws analogous: surety laws and affray or “going armed” laws. Surety laws

        “authorized magistrates to require individuals suspected of future misbehavior to post a

        bond,” which “would be forfeit” if the individual subsequently broke the peace by, for

        example, “go[ing] armed offensively.” Rahimi, 144 S. Ct. at 1900 (majority opinion)

        (internal quotation marks omitted). Going armed laws prohibited “riding or going armed,

        with dangerous or unusual weapons, to terrify” the people, which was punished by



               3
                 Plaintiffs and amici suggest that because various historical licensing laws were
        imposed exclusively against “slaves, freedmen, and Indians,” there can be no historical
        tradition justifying a licensing requirement for rights-holding citizens. Brief for Firearms
        Policy Coalition et al. as Amici Curiae Supporting Appellants 8. On their face, none of
        these laws constrained the licensing official’s discretion, so they do little to prove that our
        historical tradition doesn’t countenance applying a shall-issue licensing requirement to
        rights-bearing citizens.
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        “forfeiture of the arms and imprisonment.” Id. at 1901 (internal quotation marks, brackets,

        and ellipsis omitted).

               The enforcement mechanisms of those historical laws were materially different

        from that of Section 922(g)(8), yet the Court concluded that provision “is ‘relevantly

        similar’ to those founding era regimes in both why and how it burdens the Second

        Amendment right.” Id. (quoting Bruen, 142 S. Ct. at 2132). Unlike Section 922(g)(8),

        neither surety laws nor going armed laws categorically disarmed a threatening person. And

        going armed laws solely punished past misbehavior; they did not impose a restraint to

        prevent future behavior. Despite these differences, the Court concluded that Section

        922(g)(8) fit “within the tradition the surety and going armed laws represent” because it

        “restricts gun use to mitigate demonstrated threats of physical violence.” Id. at 1901–1902.

               Similarly here, although a shall-issue licensing regime designed to prevent

        dangerous individuals from obtaining firearms “does not precisely match its historical

        precursors, ‘it still may be analogous enough to pass constitutional muster.’” Id. at 1898

        (quoting Bruen, 142 S. Ct. at 2133). The theory underlying Plaintiffs’ argument—that the

        Second Amendment prohibits any advance permission regulatory scheme—is inconsistent

        with the Supreme Court’s reasoning in Footnote Nine. Despite the different enforcement

        mechanism, a shall-issue licensing regime can be consistent with the historical tradition of

        disarming those who have demonstrated a proclivity for violence or whose possession of

        guns would otherwise threaten public safety. In Bruen, the Court indicated that a shall-

        issue licensing scheme consistent with historical principles would use “only narrow,

        objective, and definite standards” to guide licensing officials in identifying persons

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        prohibited from carrying firearms and would not, through abuses like “lengthy wait times”

        or “exorbitant fees,” de facto “deny ordinary citizens their right to public carry.” 142 S.

        Ct. at 2138 n.9 (internal quotation marks omitted).

               Applying these criteria to Maryland’s handgun license requirement, no one disputes

        that the law contains only “narrow, objective, and definite standards” for distinguishing

        between individuals prohibited from receiving a handgun and everyone else. Id. (internal

        quotation marks omitted). Plaintiffs contend that the licensing process results in a lengthy

        wait time, but the majority correctly rejects that argument on the facts and the law. See

        Maj. Op. 24–25. Plaintiffs also argue that the handgun license requirement is redundant of

        a separate Maryland permit requirement and therefore abusive. However, as the majority

        correctly explains, differences between the two requirements disprove Plaintiffs’ premise.

        See Maj. Op. 26–28.        Accordingly, Maryland’s handgun license requirement fits

        comfortably within Bruen’s criteria for a constitutional shall-issue licensing regime.

                                                *    *   *

               In conclusion, I would affirm the district court’s award of summary judgment to the

        State of Maryland. Its handgun license law regulates conduct covered by the Second

        Amendment. But, following the Supreme Court’s guidance in Bruen, I would conclude

        that Maryland’s licensing requirement is consistent with our Nation’s historical tradition

        of firearm regulation.




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        NIEMEYER, Circuit Judge, concurring in part, dissenting in part, and concurring in the
        judgment:

               Before us is the question of whether a portion of Maryland’s handgun licensing

        regime is unconstitutional under the Second Amendment. The law at issue requires a

        would-be purchaser of a handgun first to obtain a “handgun qualification license,” Md.

        Code Ann., Pub. Safety § 5-117.1, and then, in connection with the actual purchase of a

        handgun, a related law requires the purchaser to submit a “firearm application,” id. § 5-118.

        If the statutory requirements are satisfied, the State is required to grant the handgun

        qualification license within 30 days. Id. § 5-117.1(h)(1). And the State has 7 days to decide

        whether to deny the firearm application. Id. § 5-122(b). In short, the Maryland licensing

        regime at issue is understood to be a “shall-issue” one under which the State must issue the

        licenses needed to purchase a handgun if specified, objective requirements are satisfied.

               In addition to Maryland, over 40 other States have shall-issue licensing regimes.

               The majority opinion finds Maryland’s regime constitutional, relying on footnote 9

        in the Supreme Court’s recent decision in New York State Rifle & Pistol Ass’n v. Bruen,

        597 U.S. 1, 38 n.9 (2022). In Bruen, the Court held that a New York law governing the

        process to obtain a license to carry a handgun in public was unconstitutional because the

        law conditioned the license’s issuance on the applicant’s demonstrating that he or she had

        some “special need” that justified carrying a handgun beyond a general interest in self-

        defense. Id. at 11–13, 38. Without demonstrating that special need, a citizen in New York

        could not carry a handgun in public for self-defense.




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                In holding New York’s law unconstitutional, the Bruen Court began by articulating

        the applicable test for analyzing a government regulation under the Second Amendment.

        It stated:

               When the Second Amendment’s plain text covers an individual’s conduct,
               the Constitution presumptively protects that conduct. The government must
               then justify its regulation by demonstrating that it is consistent with the
               Nation’s historical tradition of firearm regulation. Only then may a court
               conclude that the individual’s conduct falls outside the Second Amendment’s
               unqualified command.

        Bruen, 597 U.S. at 24 (emphasis added) (cleaned up). The Court thus adopted a two-step

        text-and-history test for determining whether a regulation violates the Second Amendment.

        See also United States v. Rahimi, 144 S. Ct. 1889, 1897 (2024).

               Explaining the test, the Bruen Court noted that at the first step, a court must focus

        on the plaintiff’s conduct and determine whether it is covered by the text of the Amendment

        — “the right of the people to keep and bear Arms.” 597 U.S. at 32 (quoting U.S. Const.

        amend. II). As to the plain meaning of that text, the Court stated that the right to “bear

        arms” describes “the right to wear, bear, or carry upon the person or in the clothing or in a

        pocket, for the purpose of being armed and ready . . . in . . . case of conflict with another

        person.” Id. (cleaned up). And it stated that “arms” refers to “all instruments that constitute

        bearable arms, even those that were not in existence at the time of the founding.” Id. at 28

        (cleaned up). Thus, a plaintiff’s conduct in carrying a bearable firearm is presumptively

        protected by the Second Amendment. That is only the first part of the analysis, however,

        because, as the Court stressed, the scope of the right protected by the Amendment is “not

        unlimited.” Id. at 21 (cleaned up). Yet, when the plaintiff’s proposed course of conduct is


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        protected by the Amendment’s plain text, the burden shifts to the government to justify its

        regulation of that conduct by showing the regulation’s consistency with historical tradition.

        Thus, it is “the historical tradition that delimits the outer bounds of the right.” Id. at 19;

        see also Rahimi, 144 S. Ct. at 1897.

               After the Court established and explained the two-step analysis for application of

        the Second Amendment, it then turned to the New York law and, focusing on the conduct

        regulated, it readily concluded that the “textual” step of its test was satisfied, stating, “The

        Second Amendment’s plain text thus presumptively guarantees petitioners Koch and Nash

        a right to ‘bear’ arms in public for self-defense.” Bruen, 597 U.S. at 33. But that was just

        the first step in determining the scope of the “right” protected. The second step required

        New York to demonstrate that there was a historical tradition that justified its requiring a

        license applicant to demonstrate a special need to carry a handgun beyond the needs of

        ordinary self-defense. On that step, the Court concluded that New York had shown no

        “historical tradition limiting public carry only to those . . . who demonstrate a special need.”

        Id. at 38. Accordingly, the Court held, after completing the second step, that the New York

        licensing law was unconstitutional.

               While rendering that holding, Court distinguished the New York law from the shall-

        issue licensing laws that, it noted, were in force in 43 other States. Bruen, 597 U.S. at 38

        n.9. The Court explained, in footnote 9, that “nothing in our analysis should be interpreted

        to suggest the unconstitutionality of the 43 States’ ‘shall-issue’ licensing regimes, under

        which a general desire for self-defense is sufficient to obtain a permit.” Id. (cleaned up).

        But the Court cautioned that “because any permitting scheme can be put toward abusive

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        ends,” it was not “rul[ing] out constitutional challenges to shall-issue regimes where, for

        example, lengthy wait times in processing license applications or exorbitant fees deny

        ordinary citizens their right to public carry.” Id.

                  The majority opinion relies on Bruen footnote 9 to uphold the constitutionality of

        Maryland’s licensing regime, and I concur in its doing so. The Maryland law is a “shall-

        issue” licensing regime, and facially, it has not been “put toward abusive ends,” insofar as

        it does not impose unreasonably lengthy wait times or exorbitant fees. Bruen, 597 U.S. at

        38 n.9.

                  The majority opinion should have ended with that analysis. Instead, for a reason I

        have difficulty fathoming, the majority opinion launches into illogical dicta to alter Bruen’s

        clear test for applying the Second Amendment by requiring a plaintiff, as part of step one,

        to demonstrate that the regulation “infringes” the Second Amendment right. Specifically,

        the opinion states that, “[u]nder the first step of the Bruen framework, a court must consider

        the text of the Second Amendment” and that, “[a]mong other plain-text requirements [of

        the first step], a regulation falls within the ambit of the Second Amendment only if the

        regulation ‘infringes’ the Second Amendment right to keep and bear arms.” Ante at 12

        (emphasis added). Gratuitously applying that test to the Maryland licensing regime, the

        opinion then concludes:


                  The plaintiffs have not met their burden to show that the [Maryland licensing
                  law] “infringes” the Second Amendment right to keep and bear arms . . . .
                  We therefore reject their facial constitutional challenge at step one of the
                  Bruen framework, and do not reach their argument under step two that the
                  [Maryland licensing law] lacks a historical analogue.


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        Ante at 28–29 (emphasis added).

               Thus, the majority now makes infringement part of the showing that must be made

        at step one. Doing so, however, sets the Bruen test on its head. Rather than requiring the

        plaintiff to prove infringement at step one, as the majority does, Bruen requires the plaintiff

        to show only that his or her conduct is covered by the Amendment’s plain text. 597 U.S.

        at 17, 24; see also Rahimi, 144 S. Ct. at 1897. Moreover, in addition to flipping the burden

        of the Bruen test on its head, the majority’s newly created test is also circular and begs the

        question. Under it, the plaintiff must prove that the regulation “infringes” before the

        government is required to demonstrate the permissibility of the regulation by reference to

        historical tradition. Yet, Bruen makes clear that it is only after both steps are taken that

        infringement can be found. This new test is plainly wrong.

               Under the actual Bruen framework, as noted, the first question is simply whether

        “the Second Amendment’s plain text covers an individual’s conduct.” 597 U.S. at 24; see

        also Rahimi, 144 S. Ct. at 1897. And if the conduct being regulated involves keeping or

        bearing a firearm, then it is presumptively protected. But that, of course, does not end the

        analysis, because the right may nonetheless be regulated in accordance with historical

        tradition, which must be demonstrated by the State. If a court finds that the government

        regulation “is consistent with the Nation’s historical tradition of firearm regulation,” only

        then may it “conclude that the individual’s conduct falls outside the Second Amendment’s

        unqualified command” — i.e., that the regulation does not “infringe” the right. Bruen, 597

        U.S. at 24 (cleaned up). In other words, the scope of the Second Amendment right depends

        on what the government can demonstrate regarding “the Nation’s historical tradition of

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        firearm regulation” and, consequently, both steps must be conducted before “infringement”

        can be found. Id.

                  Were this not clear enough, the Supreme Court again in Rahimi reiterated its text-

        history two-step analysis, distinguishing between conduct, which the text addresses, and

        the regulation, which history must justify and on which the government has the burden.

        Explaining Bruen, the Rahimi Court stated, “We also clarified that when the Government

        regulates arms-bearing conduct, . . . it bears the burden to ‘justify its regulation.’” 144 S.

        Ct. at 1897 (emphasis added) (quoting Bruen, 597 U.S. at 24). And, as Rahimi repeated,

        the way the government carries this burden is by showing that the “challenged regulation

        fits within” “our ‘historical tradition of firearm regulation.’” Id. (quoting Bruen, 597 U.S.

        at 17).

                  By instead requiring plaintiffs bringing a Second Amendment claim to demonstrate,

        at step one, the ultimate issue of whether the challenged law infringes the Second

        Amendment right, the majority fails to recognize that such a conclusion can only be

        reached after step two. The majority’s new test is thus illogical, requiring plaintiffs to

        establish infringement before infringement can logically be determined. Not only does this

        analysis beg the ultimate question, it fails to recognize that the scope of the Second

        Amendment right — an antecedent to a finding of infringement —can only be determined

        by considering both the constitutional text and the historical tradition.

                  I quickly add that the majority’s new “infringement” analysis — which appears

        nowhere in Bruen — is also completely unnecessary to the majority’s analysis of the



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        Maryland licensing regime. The majority opinion fairly explains why footnote 9 is

        dispositive.

               Thus, I concur in the court’s holding that the Maryland licensing regime is

        constitutional by virtue of the Supreme Court’s explanation in footnote 9 of Bruen, but I

        dissent from the “infringement” analysis and the adoption of the new “infringement” test,

        as described herein. Finally, I concur in the judgment.




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        RICHARDSON, Circuit Judge, with whom Judge AGEE joins, dissenting:

               Maryland law prohibits anyone from acquiring a handgun without a “handgun

        qualification license.” Md. Code, Pub. Safety § 5-117.1(c). To obtain a license, an

        applicant must, among other things, submit fingerprints for a background check and take a

        four-hour-long “firearms safety training course,” all at the applicant’s expense. See § 5-

        117.1(d). If an applicant completes these requirements, fills out an application, and pays

        the required $50 fee, then the Secretary of State Police “shall issue” her a license within

        thirty days. § 5-117.1(d), (g)–(h).

               Deterred by these requirements, Plaintiffs challenged this regime as violating their

        Second Amendment rights. Maryland eventually defended its law before a panel of our

        Court. But rather than identifying any relevant historical support for its regulation,

        Maryland rested its case on a footnote in a Supreme Court opinion. The panel, unmoved

        by this effort to bypass controlling principles, held that Maryland’s law violates the Second

        Amendment.

               Now, our en banc Court carries Maryland’s defense across the finish line. Yet to

        do so, the majority stretches implications from Supreme Court dicta to establish a carveout

        from Supreme Court doctrine. It then defends this result by grounding it in a contrived

        reading of the Second Amendment’s plain text, for which the majority offers no support

        beyond negative inference.

               I cannot assent to this transparent workaround of governing doctrine. The Supreme

        Court established a two-step, text-and-history framework for assessing all Second

        Amendment claims. I would treat Maryland’s law like any other and analyze it under this

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        framework. Because Maryland’s law regulates protected conduct under the amendment’s

        text, and because Maryland has identified no historical basis for its law, I would hold that

        it violates the Second Amendment. I thus respectfully dissent.

        I.     Maryland’s handgun licensing requirement regulates conduct that falls within
               the plain text of the Second Amendment.

               The Second Amendment provides: “A well regulated Militia, being necessary to

        the security of a free State, the right of the people to keep and bear Arms, shall not be

        infringed.” U.S. Const. amend. II. When considering a facial challenge to a firearm

        regulation, we first ask whether the challenged law regulates conduct that falls within the

        Second Amendment’s plain text. N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 17

        (2022). This means that Plaintiffs must show three things: (1) Maryland’s law applies to

        “the people”; (2) it covers “Arms”; and (3) it regulates the “keep[ing]” or “bear[ing]” of

        those arms. Id. at 31–33; Bianchi v. Brown, No. 21-1255, 2024 WL 3666180, at *48 (4th

        Cir. Aug. 6, 2024) (en banc) (Richardson, J., dissenting).

               Plaintiffs easily make this threshold showing. Maryland does not contest that its

        law applies to “the people.” District of Columbia v. Heller, 554 U.S. 570, 580 (2008); § 5-

        117.1(b)–(c) (applying to all “person[s]”). Furthermore, Maryland’s law targets handguns,

        which are “Arms” within the plain text of the Amendment. Heller, 554 U.S. at 628.

        Finally, Maryland’s law regulates conduct protected by the Second Amendment’s plain

        text. True, the law only restricts someone’s ability to “purchase, rent, or receive a

        handgun”—it does not directly prohibit anyone from keeping or bearing arms. § 5-

        117.1(c). But if someone does not already own a handgun, she can only keep or carry one


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        if she first acquires it. And Maryland’s law cuts off all avenues of doing so unless she

        complies with its terms. Thus, the law necessarily regulates conduct protected by the

        Second Amendment’s plain text. Andrews v. State, 50 Tenn. 165, 178 (1871) (“The right

        to keep arms, necessarily involves the right to purchase them . . . and to purchase and

        provide ammunition suitable for such arms.”); Teixeira v. County of Alameda, 873 F.3d

        670, 677 (9th Cir. 2017) (“[T]he core Second Amendment right to keep and bear arms for

        self-defense ‘wouldn’t mean much’ without the ability to acquire arms.’” (quoting Ezell v.

        City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011))).

              Plaintiffs have thus established a prima facie Second Amendment claim. Yet to the

        majority, none of this matters. According to the majority, Bruen’s Footnote Nine blessed

        licensing schemes like Maryland’s unless they are particularly abusive.        And since

        Plaintiffs have not alleged that Maryland’s scheme is particularly abusive, the majority

        finds that they cannot even establish a prima facie case for Second Amendment protection.

              But the majority errs in reading Footnote Nine to control this case. Contrary to the

        majority’s claims, Footnote Nine did not presumptively immunize Maryland’s licensing

        regime—nor any others—from constitutional challenge absent special circumstances. It

        rather limited the Court’s holding to the particular kind of licensing regime at issue in

        Bruen while leaving open constitutional challenges to other kinds of licensing regimes.

        Reading Footnote Nine to establish anything more would elevate implications from dicta

        over the mandatory text-and-history test established in Bruen.

              Like any written or spoken language, Footnote Nine’s meaning stems from its

        context. Bruen involved a constitutional challenge to New York’s requirement that

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        applicants demonstrate a special need for self-protection in order to obtain a license for

        public carry. Id. at 12–13. New York’s regime was a type of “may-issue” licensing law,

        which grant public authorities discretion to deny licenses even if applicants satisfy the

        statutory criteria for obtaining them. Id. at 13–15. May-issue licensing regimes are distinct

        from “shall-issue” licensing regimes, like Maryland’s, which require authorities to issue a

        license upon an applicant’s showing that she meets established statutory criteria. Id. at 13.

               The Supreme Court began its analysis of New York’s law by determining whether

        the plaintiffs—who had unsuccessfully applied for a license—sought to engage in conduct

        that fell within the plain text of the Second Amendment. To that end, the Court considered

        three things: (1) whether the plaintiffs were part of “the people”; (2) whether their desired

        weapons—handguns—were “Arms”; and (3) whether their proposed course of conduct—

        “carrying handguns publicly for self-defense”—constituted “bear[ing]” arms. Id. at 31–

        32. The Court found that the plaintiffs satisfied all three textual requirements. Id. at 31–

        33. At no point did the Court consider the degree of burden imposed by the regulation at

        the plain-text stage. Rather, it was enough that New York regulated protected conduct to

        entitle the plaintiffs to prima facie protection. Id. at 17 (explaining that, when the plain

        text covers individual conduct, the Government must “justify its regulation” (emphasis

        added)); see also id. at 24 (analogizing to First Amendment doctrine in which the

        government bears the burden of proving constitutionality any time it “restricts speech”

        (citation omitted)).

               The Court then considered whether New York’s law was consistent with history and

        tradition. Earlier in its opinion, the Court had established that the Government must justify

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        a firearm regulation that falls under the Second Amendment’s plain text (step one) by

        analogizing it to its historical forebears, which partly requires assessing “whether modern

        and historical regulations impose a comparable burden on the right of armed self-defense.”

        Id. at 29 (emphasis added). At this second step of analysis, the Court therefore measured

        the burden imposed by New York’s law and determined that it “prevent[ed] law-abiding

        citizens with ordinary self-defense needs from exercising their right to keep and bear

        arms.” Id. at 71; see also id. at 38 (“broadly prohibit[ed] the public carry of commonly

        used firearms for self-defense”); id. at 60 (“prevent[ed] law-abiding citizens with ordinary

        self-defense needs from carrying arms in public for that purpose”). The Court then

        compared this burden to those imposed by historical regulations, along with the comparable

        justifications for those laws, and found that no historical tradition justified the onerous

        burden New York imposed on the right to bear arms. See, e.g., id. at 38 (“Throughout

        modern Anglo-American history, the right to keep and bear arms in public has traditionally

        been subject to well-defined restrictions governing the intent for which one could carry

        arms, the manner of carry, or the exceptional circumstances under which one could not

        carry arms. But apart from a handful of late-19th-century jurisdictions, the historical record

        compiled by respondents does not demonstrate a tradition of broadly prohibiting the public

        carry of commonly used firearms for self-defense.”); id. at 55 (contrasting the burden

        imposed by New York’s law with historical surety laws). So the Court concluded that New

        York’s regime was inconsistent with historical regulations and violated the Second

        Amendment.



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               Along the way, the Court clarified the limits of its holding. A careless reader might

        have interpreted the Court’s analysis to suggest that all licensing regimes fail Second

        Amendment scrutiny. So immediately after stating that New York’s law flunked the

        history-and-tradition test, the Court added Footnote Nine and explained that its analysis

        should not “be interpreted to suggest the unconstitutionality of” shall-issue licensing

        regimes. Id. at 38 n.9. Unlike may-issue regimes, the Court explained, shall-issue regimes

        “do not necessarily prevent ‘law-abiding, responsible citizens’ from exercising their

        Second Amendment right to public carry.” Id. (quoting Heller, 554 U.S. at 635). Such

        regimes are, in the main, guided by “narrow, objective, and definite standards” and do not

        require the “appraisal of facts, the exercise of judgment, and the formation of an opinion,”

        so they do not necessarily impose the same burden on public carry as did New York’s law.

        Id. (first quoting Shuttlesworth v. Birmingham, 394 U.S. 147, 151 (1969); and then quoting

        Cantwell v. Connecticut, 310 U.S. 296, 305 (1940)). At the same time, however, the Court

        clarified that some shall-issue regimes might operate to “deny ordinary citizens their right

        to public carry,” such as those featuring “lengthy wait times” or “exorbitant fees,” and

        therefore might resemble may-issue regimes like New York’s in practice. Id.

               The majority reads Footnote Nine to establish the presumptive constitutionality of

        all shall-issue licensing regimes, including Maryland’s. But read in context, Footnote

        Nine’s role was much more modest. Footnote Nine merely clarified that shall-issue

        licensing regimes are not necessarily unconstitutional just because may-issue regimes are.

        Unlike may-issue regimes, shall-issue regimes generally impose a lesser burden on the

        right to keep and bear arms, since they do not require heightened showings or grant

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        significant discretion to state officials. So it is possible that the burden they impose is akin

        to those imposed by historical regulations, in contrast with may-issue regimes. Footnote

        Nine thus invited courts to independently assess the pedigree of shall-issue licensing

        regimes against the historical record. Only when a shall-issue regime effectively operates

        like a may-issue regime is such an inquiry unnecessary, for then it is unconstitutional for

        the reasons announced in Bruen.

               Reading Footnote Nine to accomplish anything more risks elevating perceived

        implications from dicta over doctrine. Bruen mandated that whenever a law regulates

        protected conduct, the Government must prove that the regulation is consistent with history

        and tradition. Id. at 19; see also Rahimi, 144 S. Ct. at 1896 (“In Bruen, we explained that

        when a firearm regulation is challenged under the Second Amendment, the Government

        must show that the restriction ‘is consistent with the Nation’s historical tradition of firearm

        regulation.’” (quoting Bruen, 597 U.S. at 24)). But the constitutionality of shall-issue

        licensing regimes was not before the Court in Bruen, so it had no opportunity to consider

        their historical pedigree. And though we sometimes afford substantial weight to Supreme

        Court dicta, the Supreme Court has expressly cautioned against “read[ing] a footnote” in

        an opinion to “establish the general rule” for a class of cases. United States ex rel. Schutte

        v. SuperValu Inc., 598 U.S. 739, 755 n.6 (2023). Without such caution, we risk cherry-

        picking “stray comments and stretch[ing] them beyond their context—all to justify an

        outcome inconsistent with th[e] Court’s reasoning and judgments.” Brown v. Davenport,

        596 U.S. 118, 141 (2022).



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               The Court’s decision in Rahimi illustrates the peril of stretching perceived

        implications from dicta. In both Heller and Bruen, the Court arguably suggested that the

        Second Amendment only protects the rights of “responsible citizens.” Heller, 554 U.S. at

        635; Bruen, 597 U.S. at 70. Emboldened by these statements, the Government in Rahimi

        argued that individuals subject to domestic-violence restraining orders are not protected by

        the Second Amendment, since they are not “responsible.” Rahimi, 144 S. Ct. at 1903. Yet

        the Court in Rahimi renounced having ever adopted such a limit, questioning whether the

        term “responsible” could provide meaningful guidance and emphasizing that “such a line

        [did not] derive from our case law,” since “[t]he question was simply not presented” in

        prior cases. Id. The Court instead conducted afresh a text-history-and-tradition analysis

        of the constitutionality of the restriction. Id. at 1898–903. Rahimi is a warning that courts

        must not rely on suggestions drawn from dicta to establish exceptions outside the mandated

        Bruen framework.

               Rather than heeding this warning, however, the majority circumvents it by

        contriving a creative way to ground its reading of Footnote Nine in the Second

        Amendment’s plain text. The majority observes that a law only violates the Second

        Amendment if it “infringes” the right to keep or bear arms. Majority Op. at 12. It adds

        that each of the Supreme Court’s recent Second Amendment cases involved laws that

        “banned or effectively banned the possession or carry of arms.” Id. at 13. From this, the

        majority concludes that Footnote Nine must reflect the Supreme Court’s finding that shall-

        issue regimes do not infringe the Second Amendment right, absent particularly abusive



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        circumstances, since they do not ban or effectively ban the possession or carry of arms. Id.

        at 14.

                 This is an implausible reading of Bruen. Nowhere in Footnote Nine did the Supreme

        Court tie shall-issue licensing to the plain meaning of “infringe.” Indeed, the Court never

        mentioned this word at all in its plain-text inquiry or in Footnote Nine. The Court rather

        appended Footnote Nine to a sentence explaining why there was no historical support for

        New York’s may-issue regime. In contrasting the burden imposed by shall-issue regimes

        to may-issue regimes, the Court merely clarified that its historical analysis of the latter’s

        constitutionality did not determine the constitutionality or unconstitutionality of the

        former. Nothing about this discussion had any bearing on how we analyze the Second

        Amendment’s plain text. 1

                 Nor is there any basis for limiting the term “infringe” to total or effectively total

        deprivations of the right to keep or bear arms.             To the contrary, the evidence

        overwhelmingly points in the opposite direction. Early American dictionaries defined


                 My good friends in the majority and those concurring in the judgment all strain to
                 1

        find how their preferred reading of Footnote Nine fits into Bruen’s stated framework. The
        majority finds that the supposed blessing of shall-issue licensing regimes can be found in
        Bruen’s step-one, plain-text inquiry. Judge Rushing finds that blessing a home in step
        two’s historical analysis. And Judge Niemeyer seemingly believes the blessing resides
        outside Bruen’s framework, requiring no consideration of its two steps. But reading
        Footnote Nine to find that shall-issue regimes are presumptively constitutional clashes with
        the rest of Bruen. There is, however, a reading of this precautionary footnote that makes
        Bruen internally consistent: In Footnote Nine, the Court did not decide the unpresented
        question of the constitutionality of shall-issue licensing regimes, suggesting only that the
        answer to that open matter may not look the same as the conclusion just reached. See
        Bruen, 597 U.S. at 38 n.9 (“nothing in our analysis should be interpreted to suggest the
        unconstitutionality” of shall-issue licensing regimes); cf. Cohens v. Virginia, 19 U.S. (6
        Wheat.) 264, 399–400 (1821).
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        “infringe” to include burdens that fell short of total deprivations. Compare 1 Samuel

        Johnson, Dictionary of the English Language (4th ed. 1775) (defining “infringe” as “[t]o

        destroy; to hinder” (emphasis added)), and 1 Noah Webster, American Dictionary of the

        English Language (1828) (defining “infringe” as “[t]o destroy or hinder” (emphasis

        added)), with 1 Johnson, supra (defining “hinder” as “to cause impediment”), and 1

        Webster, supra (defining “hinder” as “[t]o stop; to interrupt; to obstruct; to impede or

        prevent from moving forward by any means” (emphasis added)). 2 Other early sources

        similarly confirm that even the smallest burden, if unjustified, could violate the Second

        Amendment right. See 2 George Tucker, Blackstone’s Commentaries 143 n.40 (1803)

        (“The right of the people to keep and bear arms shall not be infringed . . . and this without

        any qualification as to their condition or degree . . . .” (emphasis added)); Nunn v. State, 1

        Ga. 243, 251 (1846) (“The right of the whole people . . . to keep and bear arms . . . shall

        not be infringed, curtailed, or broken in upon, in the smallest degree.” (third emphasis

        added)). And nineteenth-century courts often entertained challenges to laws that merely

        regulated the right to carry arms, without prohibiting it, and decided these cases using

        analogical reasoning—not by holding that these laws didn’t sufficiently burden the right in

        the first place. See, e.g., State v. Jumel, 13 La. Ann. 399, 399–400 (1858) (holding that a

        concealed carry ban did not “infringe” the Second Amendment right because it was

        consistent with historical police powers); Commonwealth v. Murphy, 166 Mass. 171, 172–



               2
                 Modern dictionaries define “infringe” similarly. See, e.g., Infringement, Black’s
        Law Dictionary (12th ed. 2024) (defining “infringement” as “[a]n encroachment or trespass
        on []a right”).
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        73 (1896) (upholding a law prohibiting the parading of firearms because it was analogous

        to prohibitions on concealed carry). Finally, lest there be any doubt, the Court in Bruen

        contemplated challenges to laws that impose burdens short of total prohibitions on the

        right, such as sensitive-place restrictions. 3 597 U.S. at 30 (discussing how to analogize

        modern sensitive-place restrictions to historical ones); cf. United States v. Klein, 80 U.S.

        (13 Wall.) 128, 147 (1871) (finding a rule “impairing the effect of” a pardon to “infring[e]

        the constitutional power of the Executive”). These sources show that any regulation of the

        Second Amendment right, absent constitutional justification, is an infringement of the

        right. 4




                It is thus immaterial that Heller, McDonald v. Chicago, 561 U.S. 742 (2010), and
                   3

        Bruen all involved laws that prohibited or effectively prohibited the right to have or carry
        arms. Nothing in those cases limited Second Amendment challenges to laws of those
        kinds. To the contrary, the framework those cases adopted contemplated challenges to less
        burdensome laws that still regulate the right to keep or bear arms. It is baffling that the
        majority chooses to rest its argument on this negative inference alone without even
        mentioning the overwhelming evidence to the contrary.

                 Though this is not dispositive, it is noteworthy that the majority’s threshold inquiry
                   4

        was not part of the first step of the two-step analysis that prevailed in the Courts of Appeals,
        including our own, before Bruen. At the first step of this inquiry, courts simply asked
        whether “the challenged regulation burdens conduct that was within the scope of the
        Second Amendment as historically understood,” without considering the magnitude of the
        burden imposed. United States v. Chester, 628 F.3d 673, 680 (4th Cir. 2010) (emphasis
        added); see also United States v. Marzzarella, 614 F.3d 85, 89 (3d Cir. 2010) (same); Ezell,
        651 F.3d at 702–03 (considering whether the “challenged firearms law regulates activity
        falling outside the scope of the Second Amendment right” (emphasis added)). It was only
        at the second step of this inquiry—when determining which level of scrutiny to apply—
        that courts considered “the degree to which the challenged law burdens the right.” Chester,
        628 F.3d at 682. Importantly, Bruen called the first step of this approach “broadly
        consistent with Heller” but abrogated the second step. 597 U.S. at 19.
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               If there were any doubt on this front, the Court foreclosed it in Rahimi. There, the

        Court clarified that “when the Government regulates arms-bearing conduct, as when the

        Government regulates other constitutional rights, it bears the burden to ‘justify its

        regulation.’” Rahimi, 144 S. Ct. at 1897 (quoting Bruen, 597 U.S. at 24 (emphasis added)).

        Two other Justices, writing separately, similarly explained that the mere targeting of

        protected conduct triggers Second Amendment scrutiny. See id. at 1907 (Gorsuch, J.,

        concurring) (“In this case, no one questions that the law Mr. Rahimi challenges addresses

        individual conduct covered by the text of the Second Amendment.”); see also id. at 1932

        (Thomas, J., dissenting) (asking whether a regulation “target[s] conduct protected by the

        Second Amendment’s plain text” (emphasis added)). Rahimi establishes what was already

        apparent: A law need only regulate protected conduct to trigger Second Amendment

        scrutiny, and any regulation unjustified by our historical tradition “infringe[s]” the right. 5

               Thus, the majority’s construction of the Second Amendment’s plain text is baseless.

        Bruen did not instruct courts to consider how significantly a regulation burdens protected

        conduct at the plain-text stage. And it certainly did not tie Footnote Nine to the plain-text

        meaning of “infringe.” Rather, text, history, and Supreme Court precedent establish that


               5
                 This mirrors how the Supreme Court considers challenges brought under other
        constitutional rights. Under the First Amendment’s free speech clause, for instance,
        “‘[w]hen the Government restricts speech, the Government bears the burden of proving the
        constitutionality of its actions.’” Bruen, 597 U.S. at 24 (quoting United States v. Playboy
        Ent. Grp., Inc., 529 U.S. 803, 816 (2000)). And the Court has explained that “[i]t is of no
        moment that the [challenged] statute does not impose a complete prohibition,” for both
        “burdens” on and “bans” of protected speech face “the same rigorous scrutiny.” Playboy
        Ent. Grp., 529 U.S. at 812. So just as an unjustified regulation of protected speech
        “abridge[s]” the First Amendment right, an unjustified regulation of the keeping or bearing
        of arms “infringe[s]” the Second Amendment right. U.S. Const. amends. I, II.
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        any regulation of protected conduct, if unjustified, infringes the Second Amendment right.

        Because shall-issue licensing regimes like Maryland’s regulate protected conduct under

        the amendment’s plain text, they must be justified according to history and tradition.

        II.    Maryland has not shown that history and tradition justify its handgun
               licensing requirement.

               Because the challenged law regulates conduct protected by the Second

        Amendment’s plain text, Maryland must show under Bruen’s second step that it is

        consistent with our Nation’s historical tradition of firearms regulation. Bruen, 597 U.S. at

        17. 6 Maryland offers two potential historical analogues for its regulation. First, Maryland

        argues that its law is analogous to the historical tradition of prohibiting dangerous people

        from possessing weapons. Second, Maryland argues that its law is analogous to militia-




               6
                  Maryland argues that its licensing law need not face historical scrutiny at all since
        it is not a “substantive limitation[]” but rather an “administrative regime that implements
        [substantive] limitations,” which Maryland contends must be assessed according to a
        separate, non-historical analysis. Appellees’ Suppl. Br. at 11. But the cases Maryland cites
        for this proposition applied interest-balancing to determine whether other constitutional
        rights were violated, an approach which Bruen explicitly rejected in the Second
        Amendment context. See Rosario v. Rockefeller, 410 U.S. 752, 761–62 (1973) (upholding
        voter registration because it advanced a “particularized legitimate purpose” and was “in no
        sense invidious or arbitrary”); Cox v. New Hampshire, 312 U.S. 569, 574 (1941)
        (considering whether a permitting requirement for parades was “exerted so as not to deny
        or unwarrantly abridge the right of assembly and the opportunities for the communication
        of thought and the discussion of public questions immemorially associated with resort to
        public places”); but see Bruen, 597 U.S. at 22–23 (rejecting “judge-empowering ‘interest-
        balancing’” (quoting Heller, 554, U.S. at 634)). For the Second Amendment, “when the
        Government regulates arms-bearing conduct, . . . it bears the burden to ‘justify its
        regulation’” based on text and history. Rahimi, 144 S. Ct. at 1897 (quoting Bruen, 597
        U.S. at 24). Here, Maryland’s administrative scheme burdens protected conduct, so
        Maryland must put forth evidence that establishes its scheme is consistent with our
        historical tradition of firearm regulation.
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        training laws from the Founding. But neither tradition is relevantly similar to Maryland’s

        licensing scheme. So the challenged law is unconstitutional.

                      1.     The historical tradition of prohibiting “dangerous” people from
                             owning firearms does not justify Maryland’s law.

               Maryland first argues that its licensing scheme is analogous to historical limitations

        on the ability of “dangerous” people to own firearms. Appellees’ Br. at 32–33. Outside of

        several modern U.S. code provisions, 7 Maryland does not cite any historical regulations to

        support its position. See Bruen, 597 U.S. at 66 n.28 (“20th-century evidence . . . does not

        provide insight into the meaning of the Second Amendment when it contradicts earlier

        evidence.”). But Maryland does point to several court decisions that have held, to varying

        degrees, that dangerous people may be disarmed. In Rahimi, for example, the Supreme

        Court held that history and tradition support the temporary disarmament of an “individual

        [who] poses a clear threat of physical violence to another.” 144 S. Ct. at 1901. Some

        judges have gone further and argued that history and tradition permit legislatures to

        permanently disarm categories of people considered dangerous to public peace and safety.

        See Kanter v. Barr, 919 F.3d 437, 451–64 (7th Cir. 2019) (Barrett, J., dissenting); Folajtar

        v. Att’y Gen., 980 F.3d 897, 912–20 (3d Cir. 2020) (Bibas, J., dissenting); Antonyuk v.

        Chiumento, 89 F.4th 271, 314 (2d Cir. 2023), cert. granted, judgment vacated sub. nom.

        Antonyuk v. James, No. 23-910 (U.S. July 2, 2024) (“There is widespread agreement

        among both courts of appeals and scholars that restrictions forbidding dangerous


               7
                 See 18 U.S.C. § 922(g)(1) (prohibiting felons from possessing firearms);
        § 922(g)(3) (same for persons addicted to a controlled substance); § 922(g)(9) (same for
        persons who have been convicted of a domestic-violence misdemeanor).
                                                     63
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        individuals from carrying guns comport with this Nation’s historical tradition of firearm

        regulation . . . .” (internal quotation marks and citation omitted)). 8 Maryland argues that

        its licensing regime fits within this tradition because it ensures that dangerous people

        prohibited from owning handguns cannot acquire them. 9

               I need not decide how far history and tradition support the disarming of a dangerous

        person. For regardless of how far it does, Maryland’s law is not “relevantly similar” to

        historical laws within this tradition. Bruen, 597 U.S. at 29. Bruen identified two metrics

        for determining whether modern and historical laws are analogous: “how” and “why” the

        regulations burden a citizen’s Second Amendment right. Id. Put differently, “whether

        modern and historical regulations impose a comparable burden on the right of armed self-

        defense and whether that burden is comparably justified are ‘central’ considerations when

        engaging in an analogical inquiry.” Id. (quoting McDonald, 561 U.S. at 767 (cleaned up));



               8
                 After Bruen, courts are split over how such a principle justifies, if at all, the modern
        U.S. code provisions Maryland cites. Compare Range v. Att’y Gen., 69 F.4th 96, 106 (3d
        Cir. 2023), cert. granted, judgment vacated, No. 23-374 (U.S. July 2, 2024) (holding that
        § 922(g)(1) violates the Second Amendment, as applied to a particular nonviolent felon);
        United States v. Duarte, 101 F.4th 657, 691 (9th Cir. 2024), vacated, No. 22-50049 (9th
        Cir. July 14, 2024) (same); and United States v. Daniels, 77 F.4th 337, 341–55 (5th Cir.
        2023), cert. granted, judgment vacated, No. 23-376 (U.S. July 2, 2024) (concluding that
        § 922(g)(3) is unconstitutional); with United States v. Jackson, 69 F.4th 495, 502 (8th Cir.
        2023), cert. granted, judgment vacated, No. 23-610 (U.S. July 2, 2024) (upholding
        § 922(g)(1) and concluding “that there is no need for felony-by-felony litigation regarding
        the constitutionality of § 922(g)(1)”); and Vincent v. Garland, 80 F.4th 1197, 1199–1202
        (10th Cir. 2023), cert. granted, judgment vacated, No. 23-683 (U.S. July 2, 2024) (same).
               9
                 See § 5-117.1(c)(2) (requiring a determination that an applicant “is not otherwise
        prohibited by federal or State law from purchasing or possessing a handgun”); § 5-133(b)
        (prohibiting felons, fugitives, individuals addicted to drugs, the mentally ill, individuals
        subject to protective orders, and other categories of persons from possessing firearms).
                                                       64
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        see also Rahimi, 144 S. Ct. at 1898 (reaffirming this approach). Maryland’s licensing law

        might share an analogous “why” with historical restrictions on dangerous people. But it

        does not share a relevantly similar “how” because it imposes a burden that is materially

        different from the one imposed by every other restriction within this tradition.

               Every historical law limiting the ability of dangerous people to keep or bear arms

        targeted those found dangerous by the government—either individually or as a class—and

        penalized them for having or carrying firearms. For example, the Militia Act of 1662

        authorized royal officers to disarm persons that they determined were “dangerous to the

        Peace of the Kingdom.” Folajtar, 980 F.3d at 914 (Bibas, J., dissenting) (quoting 13 & 14

        Car. 2, c. 3, § 13). Some American colonies, meanwhile, disarmed Catholics and loyalists

        unless they swore an oath of loyalty to the sovereign, since it was feared that they owed

        fealty to a foreign higher power. Kanter, 919 F.3d at 457 (Barrett, J., dissenting); Folajtar,

        980 F.3d at 914 (Bibas, J., dissenting). Many states also enacted surety laws, which

        required individuals found to give another person “reasonable cause to fear” violence to

        post a bond before going armed. Rahimi, 144 S. Ct. at 1900. And “going armed” laws,

        enacted in several colonies and states, penalized anyone who went armed with dangerous

        and unusual weapons to terrify the people with forfeiture of arms and imprisonment. Id.

        at 1900–01. As these examples demonstrate, each law within this tradition targeted only

        people determined to be dangerous and subjected them to various penalties.

               Maryland’s law operates through an entirely different mechanism. It does not

        identify dangerous people and then target them with restrictions and sanctions. Rather,

        Maryland’s law bars everyone from acquiring handguns until they can prove that they are

                                                     65
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        not dangerous. By preemptively depriving all citizens of firearms to keep them out of

        dangerous hands, Maryland’s law utilizes a meaningfully different mechanism and thereby

        goes far beyond historical dangerousness regulations. So these regulations cannot justify

        Maryland’s law.     See id. at 1898 (“Even when a law regulates arms-bearing for a

        permissible reason, . . . it may not be compatible with the right if it does so to an extent

        beyond what was done at the founding.”).

               This is not some trivial difference. The contrast in mechanism between past and

        present laws is precisely how the Supreme Court has assessed potential analogues within

        this exact tradition. In Bruen, the Court concluded that New York’s may-issue licensing

        regime was not analogous to historical surety laws because the two sets of laws employed

        meaningfully different mechanisms. “While New York presumes that individuals have no

        public carry right without a showing of heightened need,” the Court explained, “the surety

        statutes presumed that individuals had a right to public carry that could be burdened only

        if another could make out a specific showing of ‘reasonable cause to fear an injury, or

        breach of the peace.’” Bruen, 597 U.S. at 56 (quoting Mass. Rev. Stat., ch. 134, § 16

        (1836)). In Rahimi, by contrast, the Court concluded that 18 U.S.C. § 922(g)(8) and surety

        laws were relevantly similar because both laws presumed “that the Second Amendment

        right may only be burdened once a defendant has been found to pose a credible threat to

        the physical safety of others.” 144 S. Ct. at 1902. In both Bruen and Rahimi, then, the

        Court found dispositive the fact that surety laws targeted only those who were already

        deemed dangerous and used this mechanism as the basis for analogizing to present-day

        restrictions. Yet Maryland’s law operates in the exact opposite manner—it treats everyone

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        as presumptively dangerous until they can show that they are safe and responsible.

        Maryland’s law therefore is not relevantly similar to historical laws targeting dangerous

        persons. See Bruen, 597 U.S. at 26 (“[W]hen a challenged regulation addresses a general

        societal problem that has persisted since the 18th century[,] . . . [and] earlier generations

        addressed the societal problem . . . through materially different means, that . . . could be

        evidence that a modern regulation is unconstitutional.”). 10

               This contrast is especially stark given that licensing laws have been around since

        the Founding, yet before the late nineteenth century, they were only used to target allegedly

        dangerous persons who did not enjoy constitutional rights.          Conventional accounts

        typically explain that firearm licensing for American citizens did not begin until the late

        1800s or early 1900s. See Adam M. Samaha, Is Bruen Constitutional? On the Methodology


               10
                   Judge Rushing thoughtfully suggests that Maryland’s licensing regime is
        supported—at step two—by the historical tradition of “regulating firearm possession by
        dangerous individuals.” Rushing Concurring Op. at 36. With great respect, Judge Rushing
        commits two errors. First, she overreads Bruen’s Footnote Nine. The Supreme Court did
        not, as Judge Rushing suggests, find that some shall-issue licensing regimes not before the
        Court were “relevantly similar” to this regulatory tradition. Id. at 30, 37–40. Rather than
        address how this regulatory tradition might be analogous to a shall-issue licensing regime,
        Footnote Nine merely suggested that the constitutionality of a shall-issue regime did not
        necessarily fall prey to the same concerns as New York’s may-issue regime. The second
        error flows from the first. Having decided that the Supreme Court blessed at least some
        shall-issue regimes, she then assumes that we must ignore the undeniable difference
        between the burdens on the right imposed by ex ante disarmament of all citizens and ex
        post punishment of a dangerous individual who poses a threat. See Rushing Concurring
        Op. at 39–41. The surety and going-armed laws Rahimi discussed as part of this historical
        tradition punished dangerous individuals based on their conduct. 144 S.Ct. at 1900–01.
        But these after-the-fact punishments burden the right of “an individual” who “poses a clear
        threat of violence.” Id. at 1901. Faithfully applying the Second Amendment demands that
        we actually consider “how” the historical tradition of punishing such a dangerous
        individual burdened Second Amendment rights compared with the burden imposed by
        Maryland’s preemptive, if only temporary, ban on all citizens possessing handguns.
                                                     67
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        that Saved Most Gun Licensing, 98 N.Y.U. L. Rev. 1928, 1933 (2023); Saul Cornell, The

        Long Arc of Arms Regulation in Public: From Surety to Permitting, 1328–1928, 55 U.C.

        Davis L. Rev. 2545, 2596, 2599–600 (2022). But long before then, colonies and states

        used licensing to stifle the keeping and bearing of arms by racial minorities. Prior to the

        American Revolution, at least three colonies prohibited slaves, free blacks, or Native

        Americans from having or carrying firearms in most or all circumstances without first

        obtaining a license. 11 Many more states enacted similar requirements after the Revolution

        and until the enactment of the Fourteenth Amendment. 12 Indeed, it appears that licensing


               11
                  An Act Directing the Trial of Slaves . . ., ch. IV, §§ XIV–XV (1723), in 4 William
        Waller Hening, Statutes at Large; Being a Collection of All the Laws of Virginia, From the
        First Session of the Legislature in the Year 1619, at 126, 131 (1820) (prohibiting any
        “negro, mulatto, or Indian” from keeping or carrying a gun unless they were a “house-
        keeper, or listed in the militia,” but permitting any such person, “bond or free,” who lived
        “at any frontier plantation” to “keep and use guns” if they “first obtained a licence for the
        same, from some justice of the peace”); An Act for the Better Order and Governing
        Negroes and Other Slaves in this Province § XXIII (1740), in 7 Statutes at Large of South
        Carolina 397, 404 (David J. McCord ed., 1840) (prohibiting any slave from “carry[ing] or
        mak[ing] use of fire arms” outside “the presence of some white person” unless he acquired
        a “ticket or license, in writing, from his master, mistress or overseer”); An Act for the
        Better Ordering and Governing Negroes and Other Slaves in this Province (1755), in 18
        Colonial Records of the State of Georgia 102, 117–18 (Allen D. Candler ed., 1910)
        (copying South Carolina’s law).
               12
                  Act of Dec. 17, 1792, ch. CIII, §§ 8–9, in A Collection of All Such Acts of the
        General Assembly of Virginia, of a Public & Permanent Nature, As Are Now in Force 186,
        187 (1803) (prohibiting any “negro or mulatto” from “keep[ing] or carry[ing] any gun”
        unless they were a housekeeper, but permitting any such person, “bond or free,” who lived
        “at any frontier plantation” to “keep and use guns” upon obtaining a license from a justice
        of the peace); Act of Feb. 8, 1798, ch. CLXXIV, §§ 5–6, in 2 A Digest of the Statute Law
        of Kentucky: Being a Collection of All the Acts of the General Assembly, of a Public and
        Permanent Nature, from the Commencement of the Government to May Session 1822, at
        1149, 1150 (William Littell & Jacob Swigert eds., 1822) (any “negro, mulatto, or Indian”);
        Slaves, and Free Persons of Color § 7 (1805), in A Digest of the Laws of the State of
        (Continued)
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        requirements for racial minorities were widespread by the mid-nineteenth century,

        particularly in the South. See Firearms Policy Coalition Amicus Br. at 6–17 (collecting

        sources).

               These early licensing laws were treated as constitutional on the ground that people

        of color—who were considered categorically dangerous at that time—were not entitled to

        the full enjoyment of constitutional rights. See Robert Leider, Our Non-Originalist Right

        to Bear Arms, 89 Ind. L.J. 1587, 1611 (2014). For example, when upholding a licensing

        requirement for free blacks, the North Carolina Supreme Court explained that “free people

        of color have been among us, as a separate and distinct class, requiring, from necessity, in

        many cases, separate and distinct legislation.” State v. Newsom, 27 N.C. (5 Ired.) 250, 252


        Alabama: Containing All the Statutes of a Public and General Nature, in Force at the
        Close of the Session of the General Assembly, in January 1833, at 391, 391–92 (John G.
        Aikin ed., 1833) (slaves); Slaves §§ 3–4 (1818) in A Digest of the Laws of Missouri
        Territory 373, 374 (Henry S. Geyer ed., 1818) (any “negro or mulatto”); Free Negroes and
        Mulattoes, ch. 76, §§ 21–23 (1830), in A Digest of the Statutes of Arkansas; Embracing All
        Laws of a General and Permanent Character in Force at the Close of the Session of the
        General Assembly of 1856, at 552, 557 (Josiah Gould ed., 1858) (any “free negro or
        mulatto”); Crimes and Punishments, ch. 30 (1841), in A Digested Manual of the Acts of the
        General Assembly of North Carolina, From the Year 1838 to the Year 1846, at 72, 73
        (James Iredell ed., 1847) (any “free negro, mulatto, or free person of color”); An Act to
        Amend the Criminal Law, No. 4731, § XIII (1865), in Acts of the General Assembly of the
        State of South Carolina, Passed at the Sessions of 1864–65, at 271, 275 (1866) (all
        “[p]ersons of color”); An Act Prescribing Additional Penalties for the Commission of
        Offences Against the State, and for Other Purposes § 12 (1866), in The Acts and
        Resolutions Adopted by the General Assembly of Florida, at its Fourteenth Session 23, 25
        (1866) (“any negro, mulatto, or other person of color”); Certain Offenses of Freedmen,
        1865 Miss. Laws, p. 165 § 1, in 1 Walter L. Fleming, Documentary History of
        Reconstruction 289 (1906) (any “freedman, free negro or mulatto”). Delaware also enacted
        a licensing scheme for “free negroes or free mulattoes” in 1832. Act of Feb. 10, 1832, ch.
        CLXXVI, § 1, in 8 Laws of the State of Delaware 208, 208 (1841). But it later repealed
        this law in 1843. Act of Feb. 28, 1843, ch. DI, § 1, in 9 Laws of the State of Delaware 552,
        552 (1843).
                                                    69
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        (1844). Similarly, the Virginia Supreme Court explained that firearm restrictions that

        would otherwise be “inconsistent with the letter and spirit of the Constitution . . . as

        respects the free whites” were constitutional when applied to racial minorities. Aldridge v.

        Commonwealth, 2 Va. 447, 449 (1824); see also Waters v. State, 1 Gill. 302, 309 (Md.

        1843) (describing free blacks as “a vicious and dangerous population,” which is why laws

        “make it unlawful for them to bear arms”); State v. Allmond, 7 Del. 612, 641 (Gen. Sess.

        1856) (explaining that states could disarm people of color under the police power). And

        the Supreme Court in Dred Scott v. Sandford made clear that if blacks were ever recognized

        as citizens, “it would give them the full liberty . . . to keep and carry arms wherever they

        went.” 60 U.S. (919 How.) 393, 417 (1857); Cooper v. Savannah, 4 Ga. 72, 72 (1848)

        (“Free persons of color have never been recognized here as citizens; they are not entitled

        to bear arms . . . .”). 13

                I do not cite these examples because I believe they stand for some constitutional

        principle. Far from it—these laws were based on the ill-founded belief that their targets

        were not entitled to constitutional protection, and they were eventually overruled by

        legislative and constitutional reforms that guaranteed the blessings of liberty to all

        Americans. See McDonald, 561 U.S. at 770–78. Instead, I see these laws as further

        evidence that licensing schemes like Maryland’s lack a historical basis. The problem of

        dangerous persons having and carrying firearms has been around since the Founding. And



                13
                  Native Americans likewise were not considered part of “the people” entitled to
        constitutional protection. See United States v. Price, No. 22-4609, 2024 WL 3665400, at
        *33 n.19 (4th Cir. Aug. 6, 2024) (en banc) (Richardson, J., dissenting).
                                                    70
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        as these examples show, colonies and states were capable of imposing licensing

        requirements for the keeping or bearing of arms. Yet there is no evidence that any

        jurisdiction, before the late nineteenth century, required all members of “the people” to

        obtain a license, or anything like it, before keeping or carrying firearms. The only evidence

        of licensing we do have was for persons who were thought not to enjoy constitutional

        liberties.   This is probative evidence that Maryland’s licensing requirement is an

        unprecedented aberration in our historical tradition.

                Some undoubtedly think that Maryland’s licensing requirement strikes a beneficial

        balance between individual liberty and public safety. But it is not the role of judges to

        balance these two competing interests. Our job is to enforce the Second Amendment,

        which “is the very product of an interest balancing by the people.” Heller, 554 U.S. 635.

        By adopting a mechanism inconsistent with “the traditions of the American people,”

        Maryland’s law transgresses that original balance. Bruen, 597 U.S. at 26.

                       2.     Maryland’s law is not analogous to militia training laws.

                Maryland further argues that its law is analogous to historical laws requiring training

        for members of the militia. Before and after the Founding, many colonies and states

        required most able-bodied men of a certain age to participate in the militia. See Hirschfeld

        v. ATF, 5 F.4th 407, 428–30 (4th Cir.), vacated as moot, 14 F.4th 332 (4th Cir. 2021). They

        likewise required members of the militia to arrive with their own weapons and report for

        regular training. Id. at 428–32. Maryland argues that its licensing law is analogous to these

        historical regulations because it ensures “that individuals who may use a handgun have

        some knowledge and training to do so safely.” Appellees’ Br. at 34.

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               Contrary to Maryland’s claims, however, these militia laws were not part of our

        Nation’s historical tradition of firearms regulation. In reality, they did not regulate the

        right to keep or bear arms in any way but rather imposed service obligations, unconnected

        with the ownership of firearms, on all members of the militia. So they cannot serve as

        relevant analogues for Maryland’s licensing regime.

               Consider two examples. In 1778, New Jersey enacted a law requiring militiamen to

        “assemble, properly armed and accoutered, twice in the Year, at such Times and Place or

        Places as the Field-Officers, or a Majority of them, shall direct for the Purpose of Training

        and Exercise.” 1778 N.J. Sess. Laws 42, 46 § 15. “[I]n case of Absence” from training,

        the law imposed a monetary sanction based on the absentee’s rank. Id. The law also

        sanctioned any militia member who failed to acquire the proper arms and ammunition. See

        id. at 45 §§ 11–12.

               Delaware enacted a similar law in 1782. It required the militia to “be duly exercised

        and instructed once in every Month,” 1782 Del. Sess. Laws 1, 3 § 5, and penalized all who

        “shall neglect or refuse to appear on the Parade . . . not having reasonable Excuse,” id. at 4

        § 7. It also required militia members to acquire and bring their own firearms, and

        sanctioned any member for failing to keep his arms “by him at all Times, ready and fit for

        Service.” Id. at 3 § 6

               These examples illustrate why historical militia laws are not relevant analogues for

        Maryland’s licensing law. Early militia laws imposed training requirements based on a

        person’s membership in the militia, not their ownership of firearms. A militia member

        could not dodge a training obligation by trashing his gun—indeed, he would be sanctioned

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        if he did so. And the mere fact of owning a gun did not obligate anyone to train with the

        militia. Women and elderly persons, for instance, could own firearms without being

        required to train. So historical militia training laws did not regulate the keeping or bearing

        of arms and were not part of our Nation’s historical tradition of firearms regulation. As a

        result, they cannot buttress the constitutionality of Maryland’s training requirement, which,

        unlike these laws, does regulate Second Amendment freedoms. 14

                                        *             *             *

               Three times, our en banc Court has considered Second Amendment challenges in

        Bruen’s aftermath. And three times, our Court has disposed of these challenges at the

        plain-text stage, each time relying on a different threshold limit unsupported by the plain

        text and appearing nowhere in the Supreme Court’s precedent. See Bianchi, No. 21-1255,

        2024 WL 3666180, at *17; Price, No. 22-4609, 2024 WL 3665400, at *4–5; Majority Op.

        at 12–17. It is disheartening that our Court has gone out of its way to avoid applying the

        framework announced in Bruen. I can only hope that in future cases we will reverse course

        and assess firearm regulations against history and tradition.

               I thus respectfully dissent.




               14
                  Maryland insists that its law ensures that those who own handguns are
        “responsible.” But the Supreme Court in Rahimi rejected reliance on general notions of
        responsibility when assessing firearm regulations. See 144 S. Ct. at 1903 (explaining that
        any such limit is “vague,” “unclear,” and “does [not] derive from [the Court’s] case law”).
                                                     73
